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                    Exhibit A-1
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                               Patterson Belknap Webb & Tyler L„.
                 1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com




 Law Debenture Trust Company of New York                                                 Invoice No. 746748
 400 Madison Avenue                                                                      June 14, 2012
 New York, NY 10017                                                                      FEI No. XX-XXXXXXX

 Re: NORTEL                                                                              L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                               May 31, 2012 In Connection With The Following:


5/7/12       BPG      Review docket, OC D. Lowenthal and C. Dent                          2.40           $1,536.00
                      re: open issues, circulate POC and NOA (1.2);
                      review and circulate Disclosure Statement (.4);
                      multiple TCs and e-mails re: next steps (.8).
5/7/12       CWD OC D. Lowenthal and B. Guiney re Nortel                                  1.70             $739.50
                  engagement (.7); drafting notice of appearance
                  and substitution of counsel, follow-up re same,
                  TC B. Guiney re same (1.0).
5/7/12       DAL      TC K. Portera re background of engagement                           2.10           $1,701.00
                      (.2); TC J. Heaney re background (.2); confer
                      with B. Guiney and C. Dent re case background
                      and action plan (.7); review holder letter and e-
                      mail and confer with H. Raspe and client (1.0).
5/7/12       HHR Conf. calls and meeting re change of counsel                            0.80              $656.00
                   from Dewey (.8).
5/8/12       BPG      Review Disclosure Statement, review                                5.10           $3,264.00
                      Indenture, multiple TCs and e-mails related to
                      new engagement (2.8); draft letter to S. Blauner
                      per D. Lowenthal, review and revise same,
                      follow-up re: same (.9); OC D. Lowenthal, C.
                      Dent re: same, follow-up re: same (1.4).




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5/8/12       CWD E-mails re Norte] - initial filings, Indenture, and      6.20       $2,697.00
                   related issues, OC D. Lowenthal and B. Guiney
                   re same, TC A. Shapiro re Indenture issues (.8);
                   follow-up research re same (3.2); meeting w/D.
                   Lowenthal, H. Raspe and B. Guiney re
                   Indenture issues (1.4); revising letter to holders,
                   OC B. Guiney re same (.3); revising notice of
                   appearance/substitution of counsel, e-mail to B.
                   Guiney re same (.2); reviewing Disclosure
                   Statement (.2); e-mails from Committee re 5/9
                   call, reviewing agenda re same (.1).
5/8/12       DAL     Multiple e-mails with Akin re exchange of           3.60        $2,916.00
                     mediation statements and Committee call (.3);
                     Committee call (.3); e-mails with I. Rozenberg
                     re exchange of mediation statements (.2): TC I.
                     Rozenberg re same (.1); TC J. Heaney re holder
                     direction letter (.2); review Indenture (.4);
                     confer with H. Raspe re direction letter (.2);
                     confer with A. Shapiro re same (.2); discuss C.
                     Dent (.2); TC B. Guiney and C. Dent re
                     response to direction letter (.1): team meeting
                     re Indenture and Solus (1.3); leave message for
                     L. Miller (.1).
5/8/12       HHR     Conf. w/D. Lowenthal, et al. re noteholder          1.10          $902.00
                     directions and successorship (1.1).
5/9/12       BPG     Consider strategy and next steps with D.            4.10        $2,624.00
                     Lowenthal (.2); participate on Committee call
                     and follow-up (1.2); review mediation
                     statements (1.1); multiple TCs and e-mails
                     related to engagement (1.2); additional e-mails
                     and calls related to same (.4).




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5/9/12       CWD Reviewing Disclosure Statement (1.8); OC B.             6.20      $2,697.00
                  Guiney re initial filings and case management
                  (.1); reviewing Committee bylaws (.2); calls
                  w/J. Schiffrin re retention issues, OC D.
                  Lowenthal and B. Guiney re same, e-mails
                  from J. Heaney re same (1.2); revising letter to
                  Dewey re Law Debenture files, e-mail to J.
                  Heaney re same, TC D. Lowenthal re same (.4);
                  e-mails w/M. Alvarez re paralegal staffing and
                  other initial matters, call w/V. Foltz re same
                  (.3); follow-up re notice of
                  appearance/substitution of counsel, TC B.
                  Guiney re same (.2); e-mails from Committee
                  re weekly call and mediation statements, OC D.
                  Lowenthal and B. Guiney re same (.1);
                  preparing for Committee call, Committee call,
                  call w/Akin re same (1.2); reviewing mediation
                  statements (.7).
5/9/12       DAL     Prepare for and participate in Committee call      2.40       $1,944.00
                     (1.2). TCs and e-mails with J. Heaney re case
                     issues (.6); TCs and e-mails with Solus counsel
                     and follow-up with colleagues (.6).
5/9/12       VF      Pulled omnibus dates from docket, coordinate       2.80         $532.00
                     with MCO, and sent around calendar invites
                     per C. Dent (2.8).
5/10/12      BPG     Review certain materials sent by B. Kahn (1.2);    4.00       $2,560.00
                     multiple TCs and e-mails with C. Dent re:
                     recovery scenarios (.2); additional follow-up
                     with D. Lowenthal re: engagement, Dewey
                     files (.6); OC same re: same (.2); finish
                     reviewing mediation statements (.9); draft e-
                     mail reply and follow-up re: same (.7); consider
                     open issues with D. Lowenthal, follow-up C.
                     Dent re: same (.2).
5/10/12      CWD Continue reviewing Nortel mediation                    2.90       $1,261.50
                  statements, OC B. Guiney re same (1.5);
                  reviewing draft response to holders, revising
                  same, OC B. Guiney re same, e-mails from D.
                  Lowenthal re same (.2); reviewing Capstone
                  recovery analysis and other case materials, TC
                  B. Guiney re same (1.2).




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5/10/12      DAL     E-mails with J. Schiffrin re meeting (.3); confer     5.10        $4,131.00
                     with B. Guiney re case issues (.2); e-mails with
                     K. Portera (.3); TC D. Botter re case issues (.5);
                     work on opening matter, including TCS, e-
                     mails with Law Debenture and draft
                     engagement letter and TCs with colleagues
                     (3.8).
5/11/12      CWD Multiple TCs w/D. Lowenthal re Nortel                     2.00         $870.00
                  Indenture issues and client files, OC same re
                  same, TC J. Lanza re same, e-mails w/same re
                  same, TC V. Foltz re same, meeting w/same re
                  same (2.0).
5/11/12      DAL    Initial review of Indenture with C. Dent (for         4.70         $3,807.00
                    part) (.4); TC S. Miller re Delaware counsel
                    (.1); review mediation statements (1.0); confer
                    with L. Miller re case issues (.4); e-mail J.
                    Heaney re same (.1); work on opening matter
                    (1.0); confer with H. Raspe re initial case issues
                    (.5); e-mail engagement letter to Law
                    Debenture (.1); follow-up re Dewey
                    documents, including confer with C. Dent, e-
                    mail to L. Miller and TC C. Dent and M.
                    Khambati, and e-mail M. Khambati (1.1).
5/11/12      JCL    Conf. call w/D. Lowenthal re: brief overview of       3.10         $2,030.50
                    Nortel engagement conf. call w/C. Dent re:
                    detailed description of steps taken to date and
                    open issues; began review of proof of claim
                    and Indenture, as well as analysis of recovery
                    presentation (3.1)
5/12/12      JCL    Continued review of proof of claim, Indenture         2.30         $1,506.50
                    and related documents (2.3).
5/13/12      DAL Review mediation statements and recovery                 3.10         $2,511.00
                   analysis (3.1).
5/13/12      JCL    Reviewed detailed preliminary recovery                1.30          $851.50
                    analysis draft (1.3).




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5/14/1 2     BPG     Follow-up D. Lowenthal re: strategy, schedule      3.10         $1,984.00
                     for the week (.2); review and revise notice and
                     substitution (.3); TC JC Lanza and C. Dent re:
                     note, prospectus and follow-up re: same (.5);
                     follow-up re: Committee meeting (.1). OC C.
                     Dent re: Indenture, study same and follow-up
                     (.8); review global note and prospectus (1.2).
5/14/12      CWD Analyzing Indenture, prospectus, notes and             6.00         $2,610.00
                  supplemental prospectus (3.5) ; TC D.
                  Lowenthal re Akin meeting and Indenture
                  issues (.2); multiple OCs w/B. Guiney re
                  Indenture issues, TC JC Lanza re same, OC
                  same re same, TC D. Lowenthal re same, e-
                  mails w/same re same, meeting w/JC Lanza re
                  same (1.9); multiple TCs w/V. Foltz re client
                  file review and related matters, OC D.
                  Lowenthal re same, e-mails re same (.4)
5/14/12      DAL    Arrange Akin meeting (.5); review Support           2.80        $2,268.00
                    Agreement (.3); e-mail L. Miller (.1); e-mails
                    with J. Heaney case issues (.3); document
                    update (.8); TC S. Miller re Delaware counsel
                    (.2); review Committee By-laws (.4); review
                    Akin e-mail re emergency Committee call (.2).
5/14/12      JCL    Review of note documentation received last          6.30        $4,126.50
                    week and additional documentation received
                    today; meeting w/C. Dent re: Indenture issues
                    and next steps; conf. call w/C. Dent and B.
                    Guiney re: status of note and related questions;
                    conf. call w/C. Dent and J. Heaney re: location
                    of original note and request for electronic copy;
                    conf. calls w/Thompson Reuters re: SEC file
                    research for original note; reviewed base
                    Indenture, Support Agreement, recovery
                    analysis and trustee's mediation statement, and
                    began review of revolver facility and
                    prospectus supplement (6.3).
5/14/12      VF     Review Law Debenture documents received             3.00          $570.00
                    from Dewey per C. Dent (3.0).




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5/15/12      BPG     Review note specimen, e-mails C. Dent and JC         7.60        $4,864.00
                     Lanza re: same (.4); consider post-petition
                     interest / no-call amounts (1.2); case law survey
                     re: same and follow-up (3.7); follow-up re:
                     POC in Canadian proceeding (.2); TC JC
                     Lanza, with C. Dent for part re: Indenture
                     provisions, no-call, other issues (1.2); follow-
                     up C. Dent re: same (.3); TC M. Khambati re:
                     open issues, consider same with C. Dent,
                     update D. Lowenthal re: same (.6).
5/15/12      CWD Review prospectus, supplemental prospectus,             8.40         $3,654.00
                  TC JC Lanza re same, TC word processing re
                  same, e-mails w/same re same, multiple
                  meetings w/JC Lanza re Indenture issues,
                  multiple OCs w/B. Guiney re same, follow-up
                  research re same, meeting w/B. Guiney re
                  same, call w/M. Khambati re same, drafting
                  outline for D. Lowenthal re same in advance of
                  meeting with holder (7.6); e-mails w/S. Miller
                  re Indenture, TC D. Lowenthal re same (.1); e-
                  mails w/J. Heaney re accrued interest (.1); e-
                  mails w/V. Foltz re Dewey file review, TC
                  same re same, OC same re same, reviewing
                  files re same, e-mails w/D. Lowenthal re same
                  (.4); e-mails w/V. Foltz re other Nortel
                  Indentures and related materials (.2).
5/15/12      DAL    Prepare for meetings (.2); e-mails with L.           3.80         $3,078.00
                    Miller re Dewey client files (.2); confer with B.
                    Guiney re Canadian proof of claim (.1); e-mail
                    J. Heaney re same (.1); review case law re case
                    issues (3.2).
5/15/12      JCL    Conf. calls w/Thomson re: retrieval of note          5.30         $3,471.50
                    documentation; review of notes and
                    representative terms; meeting w/C. Dent re:
                    interpretation of transaction documentation;
                    conf. call w/C. Dent and B. Guiney re: same;
                    reviewed case law forwarded by B. Guiney
                    (5.3).
5/15/12      VF     Review Law Debenture files received from             4.00          $760.00
                    Dewey per C. Dent (4.0).




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5/16/12      BPG      Review two articles re prepayment penalties          4.90      $3,136.00
                      (.9); review materials for call re: fourth estate
                      settlement (.6); participate on Committee call
                      and follow-up (.7); travel to, attend and return
                      from meeting at Akin re: Norte' (2.7).
5/16/12      CWD E-mails w/JC Lanza re Indenture summary,                  7.00      $3,045.00
                   meeting w/same re same, revising summary re
                   same, e-mail to D. Lowenthal re same (1.5);
                   Committee call (.7); OC D. Lowenthal and B.
                   Guiney re Akin meeting and meeting w/holder
                   (.2); drafting cover letters to L. Miller re client
                   files (.3); meeting with Committee counsel, OC
                   D. Lowenthal and B. Guiney re same (2.9);
                   meeting w/JC Lanza and D. Lowenthal re
                   Indenture issues (1.4).
5/16/12      DAL     Committee call (.8); TC B. Fallon re next steps      7.30       $5,913.00
                     (.1); prepare for and attend Akin meeting (3.7);
                     review updated NOA and e-mail S. Miller re
                     same (.2); analyze no-call issues, documents,
                     and case law (2.5).
5/16/12      JCL     Attended to e-mail correspondence w/C. Dent          3.40       $2,227.00
                     re: preparation for upcoming meeting; attended
                     to final review of materials; reviewed and
                     commented on draft overview of holder's
                     position; meeting w/C. Dent and D. Lowenthal
                     re: overview of Indenture issue and related
                     matters; reviewed articles related to
                     interpretation of no-call provisions (3.4).
5/16/12      VF      Search for Indentures, prospectuses, notes, per      3.70         $703.00
                     C. Dent (3.7).
5/17/12      BPG     Prepare for and meet with D. Lowenthal, C.           2.10       $1,344.00
                     Dent and J. Schiffrin and follow-up re: same
                     (1.2); OC D. Lowenthal and C. Dent re:
                     Support Agreement and follow-up re: same
                     (.6); review docket, follow-up re: notice of
                     appearance and substitution (.3).




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5/17/12      CWD   Meeting w/J. Schiffrin re case status, OC D.        2.50       $1,087.50
                   Lowenthal and B. Guiney re same (1.6); e-
                   mails from Committee re Support Agreement
                   presentation, meeting w/D. Lowenthal and B.
                   Guiney re same (.8); TC V. Foltz re cross-
                   border series Indentures and related materials
                   (.1).
5/17/12      DAL   Prepare for and participate in meeting with        4.50        $3,645.00
                   holder's counsel and related follow-up (3.0);
                   review revised NOA and e-mail to L. Miller
                   (.2); strategy session with B. Guiney and C.
                   Dent (.6); e-mails with B. Kahn re meeting (.1);
                   meeting reports to J. Heaney (.6)
5/17/12      JCL   Meeting w/H. Raspe re: redemption                  0.60          $393.00
                   interpretation; conf. call w/C. Dent re: meeting
                   summary (.6).
5/18/12      DAL   E-mail S. Miller (.1).                             0.10           $81.00
5/18/12      VF    Search for Indentures, prospectuses, notes, per    2.30          $437.00
                   C. Dent (2.3).
5/21/12      CWD   E-mails from D. Lowenthal re Akin meeting          0.40          $174.00
                   (.1); e-mails w/B. Guiney re Indenture
                   memorandum (.1); reviewing docket re 5/7
                   omnibus hearing, e-mails w/B. Guiney re same
                   (.2).
5/21/12      DAL   Work on appearance issues, including TC with       2.80        $2,268.00
                   S. Miller (.9); review court decision (1.4); TC
                   F. Hodara re case issues and related follow-up
                   with colleagues (.5).
5/22/12      BPG   OC C. Dent re: open issues and next steps (.2);    2.00        $1,280.00
                   consider same with D. Lowenthal (.1); review
                   docket (.2); review NNCC/NNI schedules and
                   SOFAs, review MORs (1.4); follow-up C. Dent
                   re: same (.1).




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5/22/12      CWD OC B. Guiney re structure of memorandum re            3.40      $1,479.00
                  Indentures and related documents, OC same re
                  5/24 omnibus hearing, e-mails w/V. Foltz re
                  same (.3); reviewing docket and filed pleadings
                  re 5/24 omnibus and scheduled claims, OC D.
                  Lowenthal re same, e-mails w/B. Guiney re
                  same (1.9); e-mails w/V. Foltz re Indentures,
                  multiple TCs w/same re same, follow-up
                  EDGAR research re same, TC B. Guiney re
                  same (1.2).
5/22/12      DAL     Work on appearance and pro hac issues (1.9);     2.00       $1,620.00
                     review hearing agenda and e-mail colleagues re
                     same (.1).
5/22/12      VF      Searched for documentation of notes and          2.20         $418.00
                     created binder per C. Dent (2.2).
5/23/12      BPG     Review March opinion on claims (1.1); OC D.      2.00       $1,280.00
                     Lowenthal and C. Dent re: Support Agreement,
                     other issues and follow-up (.9).
5/23/12      CWD Multiple meetings w/V. Foltz re senior               2.80       $1,218.00
                  Indenture materials, OC B. Guiney re same,
                  follow-up re same (.7); meeting w/D.
                  Lowenthal and B. Guiney re preparation for
                  Akin meeting, follow-up re same (1.2);
                  reviewing materials prepared by Debtors' for
                  mediator (.9).
5/23/12      DAL Review case law, POC, MORs and                       2.20       $1,782.00
                   attachments, Committee counsel's agenda and
                   memo (2.2).
5/23/12      VF      Created binder of documentation of notes per     4.00         $760.00
                     C. Dent (3.6); acquired CourtCall information
                     per C. Dent (.4)




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5/24/12      BPG     Review 3rd Cir. opinion on stay, follow-up re:       3.70      $2,368.00
                     same (.7); review certain MORs in preparation
                     for meeting at Akin (.6); review US submission
                     to mediator and follow-up (.6); consider POC
                     and follow-up (.3); prepare for and participate
                     on weekly Committee call, follow-up with D.
                     Lowenthal and C. Dent re: same (.9); review
                     docket (.1); follow-up C. Dent re: research (.1);
                     review (briefly) senior Indentures, follow-up C.
                     Dent re: summer research assignment (.4).
5/24/12      CWD Monitoring hearing (.3); reviewing docket and           3.10       $1,348.50
                  filed pleadings (.2); prepare for Committee call,
                  reviewing agenda and related memorandum,
                  Committee call, OC D. Lowenthal and B.
                  Guiney re same (.9); OC D. Lowenthal re BNY
                  Indentures and related materials, OC V. Foltz
                  re binders re same, follow-up re same, meeting
                  w/J. Rizzo re same (1.3); e-mails w/B. Kahn re
                  Committee bylaws (.1); multiple TCs w/D.
                  Lowenthal re case law re issues with Indenture
                  documentation, OC B. Guiney re same (.2).
5/24/12      DAL     Analyze key documents and case law (5.1); e-        6.70       $5,427.00
                     mail J. Heaney re Committee counsel's
                     recommendation (.1); prepare for and
                     participate in Committee call (1.3); TC J.
                     Schiffrin (.1); e-mail J. Heaney re same (.1).
5/24/12      JRB     Meeting with C. Dent re: Indenture review and       0.40         $100.00
                     follow-up (.4).
5/25/12      BPG     TC C. Dent re: Indentures (.1); review docket       0.20         $128.00
                     (A).
5/25/12      CWD TC B. Guiney re Indenture binders, TC V.                0.30         $130.50
                  Foltz re same (.3).
5/25/12      JRB     Review bondholder group mediation brief for         0.50         $125.00
                     matter background (.5).
5/25/12      VF      Created binder for 2026 Notes per C. Dent           3.50        $665.00
                     (3.5).




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5/29/12      BPG   Prepare for and attend meeting at Akin with F.        2.00      $1,280.00
                   Hodara and B. Kahn, follow-up re: same (1.8);
                   follow-up C. Dent re: research and other case
                   management issues (.2).
5/29/12      CWD   Reviewing docket and filed pleadings (.2);           2.70       $1,174.50
                   preparing for meeting with Committee counsel,
                   OC D. Lowenthal and B. Guiney re same,
                   meeting w/Committee counsel re same, follow-
                   up w/B. Guiney re same (2.2); OC J. Rizzo re
                   Third Circuit case law re Indenture provisions
                   (.3).
5/29/12      DAL   Attention to electronic files (.1); legal analysis   2.40       $1,944.00
                   (.8); meeting at Akin and follow-up (1.5).
5/29/12      JRB   Meeting with C. Dent re: research assignment         0.30          $75.00
                   re: enforcement of no-call provisions (.3).
5/30/12      BPG   Continue reviewing case law and secondary            1.80       $1,152.00
                   sources related to no-call and 2026 Notes (1.5);
                   review docket (.1); follow-up D. Lowenthal re:
                   CA counsel (.1); review agenda for weekly
                   Committee call and follow-up (.1).
5/30/12      CWD   Reviewing docket (.1); e-mail from D.                0.20          $87.00
                   Lowenthal to client re Akin meeting, TC same
                   re call w/Canadian counsel (.1).
5/30/12      DAL   E-mail L. Miller (.2); TC and e-mail to E.           1.10         $891.00
                   Lamek (.2); e-mail J. Heaney re update (.7).
5/31/12      BPG   Participate on Committee call, follow-up re:         0.80         $512.00
                   same (.6); review docket (.1); follow-up re:
                   Canadian counsel / POC (.1).




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5/31/12      CWD E-mails from D. Lowenthal re draft amended                0.70          $304.50
                   proofs of claim and call w/Canadian counsel,
                   reviewing same (.3); reviewing docket (.1); OC
                   D. Lowenthal re Committee call and 2019 (.3).
5/31/12      DAL     E-mails with J. Heaney re FA (.1); Committee          2.00        $1,620.00
                     call (.7); TC with E. Lamke and follow-up (.7);
                     attention to NOA (.2); review Canadian POC
                     (.1); update C. Dent re Committee call (.2).

                                                    Total Services       211.90      $122,746.00


              Daniel A Lowenthal          58.70    hours at   $810.00 $47,547.00
              Herman H. Raspe              1.90    hours at   $820.00 $1,558.00
              Craig W. Dent               56.50    hours at   $435.00 $24,577.50
              Brian P. Guiney             45.80    hours at   $640.00 $29,312.00
              Jean-Claude Lanza           22.30    hours at   $655.00 $14,606.50
              Victoria Foltz              25.50    hours at   $190.00 $4,845.00
              Jonah Rizzo-Bleichman        1.20    hours at   $250.00    $300.00


                     Lexis Electronic Research                              121.03
                     Local Travel & Fares                                    27.65
                     Reproduction                                           574.35
                     Westlaw Electronic Research                            306.58

                                                    Total Expenses                     $1,029.61

                                                    Total This Invoice               $123,775.61




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                              Patterson Belknap Webb & Tyler
                1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com




Law Debenture Trust Company of New York                                                 Invoice No. 748960
400 Madison Avenue                                                                      July 11, 2012
New York, NY 10017                                                                      FEI No. XX-XXXXXXX

Re: NORTEL                                                                              L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                              June 30, 2012 In Connection With The Following:


6/1/12       CWD TC J. Rizzo re legal research (.1).                                     0.10               $43.50
6/1/12       DAL      Review amended POC draft (.2).                                     0.20             $162.00
6/4/12       BPG      Review docket (.1).                                                0.10               $64.00
6/4/12       JRB      Reviewing cases for conflicting authority,                         5.50           $1,375.00
                      review secondary literature re same (5.5).
6/5/12       BPG     Follow-up C. Dent re: open issues, review                           0.10               $64.00
                     docket (.1).
6/5/12       CWD TC D. Lowenthal re 6/6 hearing, TC V. Foltz re                          1.00             $435.00
                  same, follow-up re same, TC P. Fay re 6/6
                  hearing, follow-up re case calendar (.6);
                  meeting w/J. Rizzo re legal research (.4).
6/5/12       JRB     Reviewing cases re Law Debenture                                    4.20           $1,050.00
                     memorandum, reviewing secondary literature
                     re same (4.2).
6/6/12       BPG     Follow-up re: omnibus hearing, review docket,                       0.50             $320.00
                     review agenda for call and follow-up (.2);
                     review objection to Genband 2004 motion (.3).
6/6/12       CWD OC B. Guiney re Nortel research, follow-up                              0.60             $261.00
                  w/J. Rizzo re same (.1); reviewing docket and
                  filed pleadings (.5).
6/6/12       DAL Review information from Committee counsel                               0.80             $648.00
                   and case documents (.8).




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6/7/12       BPG   Review draft amended claim, consider same,             2.90     $1,856.00
                   follow-up C. Dent and D. Lowenthal re: same
                   (1.1); participate on weekly Committee call and
                   follow-up re: same (.9); TC M. Khambati re:
                   amended claim (.3); follow-up C. Dent re: same
                   (.2); update D. Lowenthal re: same and follow-
                   up (.3); review docket (.1).
6/7/12       CWD   OC B. Guiney re amended proof of claim (.1);           2.30     $1,000.50
                   Committee call (.8); OC D. Lowenthal and B.
                   Guiney re transfer of electronic client files from
                   Dewey and other case issues (.6); call w/M.
                   Khambati re amended proof of claim (.3), OC
                   B. Guiney re same (.2), TC D. Lowenthal re
                   same (.3).
6/7/12       DAL   Committee call and follow-up (1.6); update on          2.20     $1,782.00
                   POC, call from B. Guiney and C. Dent (.3);
                   leave message for S. Ratner (.1); review POCs
                   (.2).
6/8/12       CWD   Reviewing docket and filed pleadings (.2);             1.10       $478.50
                   begin drafting Law Debenture statement (.9).
6/8/12       DAL   OC B. Guiney re POC (.1).                              0.10        $81.00
6/10/12      JRB   Drafting Law Debenture memorandum (3.0).               3.00       $750.00
6/11/12      BPG   Meet and confer with D. Lowenthal and C.               2.00     $1,280.00
                   Dent re: amendment to POC (1.0); review
                   original POC and consider amendment with D.
                   Lowenthal and C. Dent (1.0).
6/11/12      CWD   Reviewing docket and filed pleadings (.3);             2.00       $870.00
                   multiple meetings w/D. Lowenthal and B.
                   Guiney re amended proof of claim and related
                   issues (1.6); TC J Rizzo re research
                   memorandum (.1).
6/11/12      DAL   Strategy session (1.8); e-mails to S. Ratner (.1);     3.80     $3,078.00
                   TC S. Ratner (.2); TC J. Heaney and follow-up
                   (.2); review documents (1.5).
6/12/12      BPG   Circulate and review objection to NNUK                 0.60       $384.00
                   pension claims and related declaration (.6).




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6/12/12      CWD Revising monthly billing detail, OC D.                   0.40       $174.00
                  Lowenthal re same, note to accounting
                  department re same (.3); TC V. Foltz re
                  exhibits to Debtors' objection to UK pension
                  claims (.1).
6/12/12      DAL      Work on fee invoice (.2).                           0.20       $162.00
6/13/12      CWD Reviewing Committee joinder to Debtors'                  1.90       $826.50
                  objection to Genband 2004 motion (.1);
                  reviewing and revising monthly billing detail,
                  note to accounting department re same (1.2);
                  revising draft statement (.6)
6/13/12      DAL Review Committee brief re Genband discovery              0.50       $405.00
                   motion (.5).
6/14/12      BPG     Prepare for and participate on weekly                1.30       $832.00
                     Committee call, follow-up re: same, additional
                     follow-up C. Dent re: strategy and certain case
                     law (1.0); review docket, follow-up C. Dent re:
                     same (.3).
6/14/12      CWD Reviewing docket and filed pleadings (.1);               3.10     $1,348.50
                  reviewing agenda for Committee call,
                  participate in same (.9); OC B. Guiney re filing
                  issues, follow-up re same (.3); follow-up re
                  litigation calendar, OC D. Lowenthal re same,
                  e-mail to B. Kahn re same (.4); TC D.
                  Lowenthal and N. Lebron re billing statement,
                  revising same (1.4).
6/14/12      DAL Review Debtors' objection to UK pension                  3.30     $2,673.00
                   parties' proof of claim (.5); Committee call (.5);
                   work on fee statement (.8); review case law
                   (1.5).
6/15/12      BPG     Review Retiree Committee materials and               0.60       $384.00
                     follow-up (.6).




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6/15/12      CWD Committee e-mails re emergency meeting re                  1.60       $696.00
                  Retiree Committee mediation, e-mails w/B.
                  Kahn re same, TC D. Lowenthal re same, OC
                  same re same, reviewing presentation re same
                  (.7); follow-up research re LTD and retiree
                  claims, drafting summary e-mail to D.
                  Lowenthal re same (.8); TC D. Lowenthal re
                  monthly billing statement (.1).
6/15/12      DAL Review and send fee statement to Law                       1.60      $1,296.00
                   Debenture (.3); confer with C. Dent re retiree
                   matter (.3); analyze Committee materials re
                   same (1.0).
6/15/12      JRB     Continue drafting Law Debenture                        7.00      $1,750.00
                     memorandum re legal research (7.0).
6/17/12      DAL     Review papers re retiree issues (1.0).                 1.00       $810.00
6/18/12      BPG     Review Genband reply, review Michigan tax              1.10       $704.00
                     pleadings (1.1).
6/18/12      CWD E-mails from Committee re Michigan tax                     2.60      $1,131.00
                   authority adversary proceeding, reviewing
                   adversary proceeding complaint re same (.3);
                   OC D. Lowenthal re Committee call re
                   LTD/retiree mediations, follow-up re same (.3);
                   prepare for Committee call re LTD/retiree
                   mediations, participate in Committee call re
                   same, OC D. Lowenthal re same (.9);
                   reviewing J. Rizzo memorandum, TC same re
                   same, follow-up re same (.9); e-mails re 6/21
                   hearing, follow-up re same (.1).
6/18/12      DAL     Review Debtors' status report on avoidance             3.30      $2,673.00
                     actions (.1); initial review or Michigan tax suit
                     (1.0); review retiree case law (.5); prepare for
                     and participate in Committee call and related
                     follow-up (1.0); analysis re retiree/LTD issues
                     (.8).
6/18/12      JRB     Continue drafting Law Debenture memo (4.0).            4.00     $1,000.00
6/19/12      BPG     Update with C. Dent re: retiree mediation,             0.30       $192.00
                     review L. Beckerman e-mail re: same (.3).




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6/19/12      CWD OC B. Guiney re Committee call, reviewing J.             1.50        $652.50
                  Rizzo legal memorandum re same, revising
                  same, reviewing case law re same (1.2);
                  reviewing Agenda for 6/21 hearing (.1);
                  reviewing docket (.2).
6/20/12      BPG     Work on amended POC (2.1); follow-up J.              3.40      $2,176.00
                     Lanza, C. Dent re: same (.4); follow-up same
                     re: same (.1); review 9019 and related materials
                     for fourth estate settlement (.5); review C. Dent
                     changes to amended POC and send to D.
                     Lowenthal (.3); review update from F. Hodara
                     and follow-up (.2).
6/20/12      CWD Reviewing docket (.2); OC B. Guiney re                   2.40      $1,044.00
                  amended POC, e-mails from same and JC
                  Lanza re same, TC same re same, reviewing
                  same, revising same (1.9); e-mail from
                  Committee re mediation update (.1); e-mail
                  from Committee re fourth estate settlement,
                  reviewing same (.1); TC D. Lowenthal re
                  Dewey files (.1).
6/20/12      JCL    Conf. call w/ B. Guiney and C. Dent re:               0.60        $393.00
                    amended proof of claim; reviewed draft
                    amended proof of claim and comment re same
                    (.6).
6/21/12      BPG     Review docket, review Agenda and monitor             1.30        $832.00
                     omnibus hearing, follow-up re: same (.9);
                     review amended POC and send to D.
                     Lowenthal, follow-up same re: same (.4).
6/21/12      CWD Begin drafting Law Debenture case update, e-             1.90        $826.50
                  mails re same (.8); reviewing docket (.3);
                  monitoring hearing re Genband 2004 motion
                  (.8).
6/21/12      JCL    Reviewed B. Guiney e-mail and attached                0.40        $262.00
                    amended proof of claim; conf. call w/ same re
                    same (.4).
6/22/12      BPG    Review docket, review filed and served                0.20        $128.00
                    pleadings (.2).




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6/22/12      CWD Continue drafting Law Debenture case                     2.80      $1,218.00
                  summary, TC D. Lowenthal re same, e-mails
                  from B. Guiney re same, revising same (2.3);
                  reviewing docket (.1); follow-up re current
                  bond pricing, e-mail to D. Lowenthal re same
                  (.3).
6/22/12      DAL Review fourth estate settlement motion papers            2.10      $1,701.00
                   (.3); revising client update (1.8).
6/27/12      BPG     Review and revise amended POC (.7); review           1.40       $896.00
                     docket, review filed and served pleadings (.2);
                     review NNUK pension parties' response (.5).
6/27/12      CWD Reviewing Debtors' Monthly Operating Report              0.50       $217.50
                  (.2); reviewing response of UK pension parties
                  to Debtors' claim objection, TC B. Guiney re
                  same (.2); e-mail from Committee re UK
                  pension parties' response, reviewing agenda for
                  Committee call (.1).
6/28/12      BPG     Review materials for Committee call, prepare         2.70      $1,728.00
                     for and participate on same and follow-up, e-
                     mail summary to D. Lowenthal (1.1); gather
                     and review materials for background memo
                     (1.6).
6/28/12      CWD Prepare for and participate in Committee call,           0.90       $391.50
                   OC B. Guiney re same, e-mails re same (.9).


                                                    Total Services     89.00       $45,505.50


              Daniel A Lowenthal          19.10 hours at      $810.00 $15,471.00
              Craig W. Dent               26.70 hours at      $435.00 $11,614.50
              Brian P. Guiney             18.50 hours at      $640.00 $11,840.00
              Jean-Claude Lanza            1.00 hours at      $655.00    $655.00
              Jonah Rizzo-Bleichman       23.70 hours at      $250.00 $5,925.00




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                  Lexis Electronic Research                           10.84

                                              Total Expenses                     $10.84

                                              Total This Invoice              $45,516.34




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                               Patterson Belknap Webb & Tyler ,,,
                 1133 Avenue of the Americas New York. NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com




Law Debenture Trust Company of New York                                                  Invoice No. 751150
400 Madison Avenue                                                                       August 16, 2012
New York, NY 10017                                                                       FEI No. XX-XXXXXXX

Re: NORTEL                                                                               L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                               July 31, 2012 In Connection With The Following:


7/2/12       CWD Reviewing docket (.1).                                                   0.10               $43.50
7/3/12       CWD Reviewing docket (.5).                                                   0.50             $217.50
7/5/12       CWD Reviewing docket (.3); OC D. Lowenthal and                               0.50             $217.50
                  B. Guiney re amended POC (.2).
7/6/12       BPG      Review presentation to mediator, review                             1.20             $768.00
                      joinder and follow-up, review revised draft
                      (1.2).
7/6/12       CWD E-mail from Committee counsel re Capstone                                2.60           $1,131.00
                   mediation presentation, reviewing same, e-
                   mails w/D. Lowenthal re same (.4); reviewing
                   draft Committee joinder to Debtors' answer to
                   NNUK parties' response, TC B. Guiney re
                   same, e-mails w/D. Lowenthal and B. Guiney
                   re same, call w/B. Kahn re same, call w/F.
                   Hodara and B. Kahn re same, OC D. Lowenthal
                   re same, reviewing revised draft re same (1.2);
                   reviewing Debtors' draft answer to NNUK
                   parties' response to claims objection (.4);
                   reviewing Debtors' response to objections to
                   motion establishing settlement procedures for
                   LTD claims (.4); reviewing draft Committee
                   joinder to same (.2).




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7/6/12       DAL     Review Committee joinder (.7); confer with             3.50      $2,835.00
                     Committee counsel re same and related follow-
                     up (.6); e-mail J. Heaney re same (.1); review
                     Committee professionals' proposed
                     presentation to counsel for the mediator and e-
                     mail Committee counsel re same (1.1); review
                     Committee presentation materials re mediation
                     (1.0).
7/9/12       BPG     Review docket, follow-up C. Dent re: open              0.20        $128.00
                     issues (.2).
7/9/12       CWD Reviewing docket and case calendar, TC B.                  1.40        $609.00
                  Guiney re same, follow-up w/managing clerk re
                  same (.3); reviewing Agenda for 7/11 hearing,
                  OC B. Guiney re same, e-mail to D. Lowenthal
                  and B. Guiney re same (.2); revising monthly
                  fee statement, note to accounting department re
                  same, OC D. Lowenthal re same (.9).
7/9/12       DAL     Work on fee statement (.1).                           0.10          $81.00
7/10/12      BPG     Follow-up re: electronic client files (.2).           0.20         $128.00
7/10/12      CWD E-mails re Dewey client files (.2); reviewing             0.60         $261.00
                   docket (.2); revising monthly billing detail, TC
                   N. Lebron re same, e-mail to D. Lowenthal re
                   same (.2).
7/10/12      DAL     Review amended hearing Agenda (.1); review            3.70       $2,997.00
                     issues re client files (.3); review Dewey motion
                     re client files (.7); begin drafting letter re same
                     (.6); e-mail J. Heaney re same (.6); review
                     motion papers re July 11 hearing (1.4).
7/11/12      BPG     Review hearing Agenda, review letters re:             0.60         $384.00
                     LTD, follow-up re: hearing (.3); receive update
                     from C. Dent re: hearing (.2); additional
                     follow-up same re: same (.1).
7/11/12      CWD Monitoring 7/11 omnibus hearing (for part),               4.90       $2,131.50
                  OC B. Guiney re same (4.4); revising monthly
                  billing detail, OC D. Lowenthal re same, e-mail
                  to same re same, e-mails w/N. Lebron re same
                  (.5).




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7/11/12      DAL     Work on monthly fee statement (.4);                 7.70      $6,237.00
                     monitoring court hearing (5.5); follow up re
                     Dewey files (.6); reviewing docket and filed
                     pleadings (1.2).
7/12/12      BPG     Review letter re: electronic client files (.2);     1.60      $1,024.00
                     follow-up re: same (.1); review final version
                     (.1); review docket, review recent filings,
                     review agenda in preparation for Committee
                     call (.5); participate on Committee call and
                     follow-up (.7).
7/12/12      CWD TC N. Lebron re revised fee statements,                2.50       $1,087.50
                  reviewing same (.2); reviewing draft letter to
                  Dewey bankruptcy counsel re client files, OC
                  B. Guiney re same, e-mails re same, follow-up
                  re same (.8); Committee call, OC D. Lowenthal
                  and B. Guiney re same (.9); follow-up re
                  adversary proceeding (.6).
7/12/12      DAL     Work to obtain additional documents re Dewey       2.90       $2,349.00
                     client files (2.0); Committee call and follow up
                     (.7); work on fee statement (.2).
7/13/12      CWD Reviewing docket (.1).                                 0.10          $43.50
7/13/12      DAL     Review update re UK pension claims (.2).           0.20         $162.00
7/16/12      CWD E-mail from client re Dewey files, follow-up re        0.30         $130.50
                   same (.3).
7/16/12      DAL Review document retrieval form and complete            1.60       $1,296.00
                   (.9); review motions re Wells Fargo settlement
                   and preference settlement re Asteelflash
                   California, Inc. (.7).
7/17/12      BPG     Review docket, review motion to increase fee       0.50         $320.00
                     cap (.3); review e-mails re: client files and
                     follow-up (.2).
7/17/12      CWD E-mails re Dewey client files (.2); reviewing          0.40         $174.00
                   docket and filed pleadings (.2).
7/17/12      DAL     Work on file retrieval issues (1.3); confer with   1.50       $1,215.00
                     S. Miller re case issues (.2).
7/18/12      BPG     Review docket (.2); review e-mail and follow-      0.30         $192.00
                     up re: electronic client files (.1).




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7/18/12      CWD Reviewing docket (.4); revising memorandum               1.50        $652.50
                  re indenture issues (1.0); e-mails re Dewey
                  client files and LTD mediation (.1).
7/18/12      DAL     Work on retrieving client files (.5).                0.50        $405.00
7/19/12      BPG     Review agenda for Committee call, prepare for        0.90        $576.00
                     same, participate on same, follow-up re: same
                     (.9).
7/19/12      CWD Reviewing docket (.1); preparing for and                 1.60        $696.00
                  participating in Committee call, TC D.
                  Lowenthal re same (.9); follow-up re LTD
                  Committee fee cap motion (.1); revising
                  memorandum re indenture issues (.5).
7/19/12      DAL     Review LTD fee cap motion (.4); prepare for          3.80      $3,078.00
                     and participate in Committee call (.9); review
                     motion re Inventory Management settlement
                     (.1); review status report re preference actions
                     (.1); review multiple status reports and fee
                     applications (2.3).
7/20/12      CWD E-mails from Committee re LTD mediation                  0.10         $43.50
                   (.1).
7/20/12      DAL Review Committee counsel's update on LTD                 0.10         $81.00
                   mediation (.1).
7/23/12      CWD Reviewing docket (.3); OC B. Guiney re                   0.70        $304.50
                  Committee call (.1); revise memorandum re
                  indenture issues (.3).
7/23/12      DAL     Review status reports (.1).                          0.10         $81.00
7/24/12      BPG     Review docket, review letter to UK pension           0.30        $192.00
                     counsel and follow-up (.3).
7/24/12      CWD Reviewing docket (.1); e-mail from Committee             0.30        $130.50
                  re weekly call and mediation status (.1); e-mail
                  from Committee re draft letter to UK pension
                  parties, reviewing same (.1).
7/24/12      DAL     Review update from Committee counsel (.1);           0.40        $324.00
                     review Committee counsel's draft letter (.3).
7/25/12      CWD Reviewing docket (.3); e-mail re Dewey client            0.70        $304.50
                  files, TC D. Lowenthal re same, follow-up re
                  same w/Dewey records department (.4).




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7/25/12      DAL   Work to obtain Dewey documents (.1).              0.10         $81.00
7/26/12      BPG   Review L. Beckerman update and follow-up          0.30        $192.00
                   (.3).
7/26/12      CWD   E-mail from Committee re LTD and retiree          0.40        $174.00
                   mediations (.1); follow-up D. Attanasi re
                   Dewey files (.1); reviewing docket (.2).
7/26/12      DAL   Review Committee counsel's update (.6); e-        0.70        $567.00
                   mail J. Heaney (.1).
7/27/12      BPG   OC C. Dent re: obtaining records and follow-up   0.70         $448.00
                   (.2); review docket, review and file certain
                   pleadings (.3); review 9019 motion (.2).
7/27/12      CWD   Call w/Dewey records department re client        1.50         $652.50
                   files, OC B. Guiney re same, TC K. Edwards re
                   same, OC same re same, e-mail to D.
                   Lowenthal re same, drafting cover letter to
                   Dewey re same (1.5); reviewing docket (.1).
7/30/12      BPG   Review docket, review 9019 motion (.3);          1.10         $704.00
                   review deferred compensation materials and
                   follow-up re: same (.4); review motion to
                   dismiss (.4).
7/30/12      CWD   Follow-up re Dewey re electronic client files    1.00         $435.00
                   (.5); reviewing docket and Agenda for 8/1
                   hearing, e-mails w/D. Lowenthal and B.
                   Guiney re same (.2); e-mail from Committee re
                   LTD motion to intervene, reviewing attached
                   motions, OC B. Guiney re same (.3).
7/30/12      DAL   Review memo from Committee counsel re            3.10       $2,5I 1.00
                   deferred compensation suit (.8); review
                   pleadings re same (2.3).




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7/31/12      BPG     Review motion to terminate disability plans,       3.60       $2,304.00
                     motion to terminate retiree benefits, motion to
                     intervene in deferred compensation adversary
                     proceeding, complaint in deferred
                     compensation adversary proceeding, and
                     follow-up (2.8); review docket and 9019
                     motion (.2); follow-up D. Lowenthal re: motion
                     to intervene (.2); TC with D. Lowenthal and J.
                     Strum re: same (.3); follow-up C. Dent re: same
                     (.1).
7/31/12      CWD E-mails from Committee re 1114 motions,                2.10        $913.50
                   reviewing same (.6); reviewing docket (.3);
                   reviewing draft Committee motion to intervene,
                   e-mails re same (.4); drafting letter to Dewey re
                   Law Debenture electronic files, follow-up re
                   same (.8).
7/31/12      DAL Review Debtors' motion to terminate LTD                5.90       $4,779.00
                   plans (1.4); review Debtors' motion to
                   terminate retiree benefits (1.4); analyze key
                   case law and statute (1.6); review Committee's
                   draft motion to intervene (1.2); e-mails with
                   Committee counsel (.1); TC with Committee
                   counsel (.2).

                                                   Total Services      71.20      $46,792.00


              Daniel A Lowenthal          35.90   hours at   $810.00 $29,079.00
              Craig W. Dent               23.80   hours at   $435.00 $10,353.00
              Brian P. Guiney             11.50   hours at   $640.00 $7,360.00




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                                Patterson Belknap Webb & Tyler up
                1133 Avenue of the Americas   New York, NY 10036-6710   212.336/000   fax 212.336.2222   www.pbwt.com




                      Federal Express                                                              41.62
                      Electronic Legal Research                                                   440.66
                      Local Travel & Fares                                                         27.65
                      Misc.                                                                        24.97
                      Outside Professional Services                                               588.39
                      Overnight Express Courier                                                    54.00
                      Reproduction                                                                576.15

                                                                 Total Expenses                                $1,753.44

                                                                 Total This Invoice                          $48,545.44




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                      Patterson Belknap Webb &Tyler LLP
             1133 Avenue of the Americas New York, NY 100366710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                          Invoice No. 753302
400 Madison Avenue                                                               September 13, 2012
New York, NY 10017                                                               FEI No. XX-XXXXXXX

Re: NORTEL                                                                       L0353-000007


                                CONFIDENTIAL ATTORNEY WORK PRODUCT

                             For Professional Services Rendered For The Period Ending
                                August 31, 2012 In Connection With The Following:


8/1/12          BPG      E-mail J. Sturm re: motion to intervene (.1);            2.90        $1,856.00
                         prepare for and participate on Nortel Court
                         conference (for part) (1.7); resume monitoring
                         conference (.4); follow-up re: same (.5); review
                         revised motion to intervene (.1); review docket
                         (.1).
8/1/12          CWD E-mails re LTD mediation and 8/1 omnibus                      2.70        $1,174.50
                      hearing (.2); monitoring omnibus hearing (for
                      part), e-mails w/D. Lowenthal and B. Guiney re
                      same (1.9); TC B. Guiney re Dewey files, TC
                      D. Lowenthal re same (.2); c-mails re revisions
                      to Committee's motion to intervene, reviewing
                      same (.4)
8/1/12          DAL      Work on Committee's intervention motion,                 4.70        $3,807.00
                         including revisions to motion and review of
                         case law (3.5); TC Committee counsel re same
                         (.3); e-mails A. Bocchino re same (.3); confer
                         with B. Guiney re Court hearing and
                         scheduling issues (.6).
8/2/12          BPG      Prepare for and participate on weekly                    1.30          $832.00
                         Committee call, follow-up re: same (1.1);
                         review D. Lowenthal e-mail re: fees, follow-up
                         re: same (.2).




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8/2/12       CWD Reviewing e-mails re Committee call,                      1.80        $783.00
                  reviewing agenda re same, preparing for same,
                  participate in same (1.3); e-mail to clients re
                  mediation (.1); attention to case calendar, e-
                  mail to managing clerk's office re same (.2);
                  follow-up re Dewey electronic files (.1);,
                  reviewing docket (.1).
8/2/12       DAL     Review updated draft intervention motion (.2);        5.00      $4,050.00
                     prepare for and participate in Committee call
                     and follow-up (1.5); review UK pension
                     parties' statement (1.0); TC with F. Hodara re
                     case issues and follow-up with colleagues (.7);
                     review Akin fee application (.7); review
                     Monitor's 86th report (.7); review IMP
                     settlement motion (.2).
8/3/12       CWD Reviewing docket and filed pleadings (.3);                0.40        $174.00
                  attention to case calendar (.1).
8/6/12       DAL     Attention to motion to intervene (.1).                0.10         $81.00
8/8/12       DAL Review Committee counsel's information re                 0.80        $648.00
                   Committee call (.8).
8/9/1 2      BPG     Review D. Lowenthal summary of call, follow-          0.30        $192.00
                     up re: same (.3).
8/9/12       DAL     Committee call and follow up (1.5); drafting          3.00      $2,430.00
                     memo to client re same (1.5).
8/13/12      CWD Reviewing docket and filed pleadings, attention           4.10      $1,783.50
                  to case calendar (.7); follow-up re Dewey client
                   files w/D. Lowenthal, e-mails w/Dewey records
                  department re same, multiple calls w/same re
                  same, e-mails w/accounting department re
                  same, calls and e-mails w/GRM re same (2.1);
                  follow-up w/accounting department re monthly
                  billing statement, reviewing same, revising
                  same, note to accounting department re same
                  (.9); OC D. Lowenthal re Committee call and
                  case issues (.4).
8/13/12      DAL     Review update re client files (.1); confer with       0.40        $324.00
                     C. Dent re next steps (for part) (.3).




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8/14/12      BPG   Review e-mails from prior week, follow-up re:       0.50        $320.00
                   status (.3); consider electronic files with C.
                   Dent, follow-up re: amended POC (.2).
8/14/12      CWD   Reviewing docket (.3); follow-up re electronic      1.30        $565.50
                   client files, OC B. Guiney re same (.2); OC D.
                   Lowenthal re LTD and retiree litigation,
                   reviewing scheduling orders re same (.2);
                   revising fee statement, e-mails w/accounting
                   department re same (.6).
8/15/12      BPG   Review docket, review EMEA bifurcation              0.60        $384.00
                   motion (.6).
8/1 5/12     CWD   Reviewing docket (.3); reviewing agenda re          0.40        $174.00
                   Committee call (.1).
8/16/12      BPG   Prepare for and participate on call, follow-up      0.70        $448.00
                   re: same (.7).
8/16/12      CWD   Follow-up re Dewey client files (.2); reviewing     1.60        $696.00
                   docket (.2); preparing for and participating on
                   Committee call, follow-up re same (.9); TC D.
                   Lowenthal re monthly billing statement,
                   follow-up re same w/accounting department
                   (.3).
8/16/12      DAL   Committee call (.8); work on fee statement (.2).    1.00        $810.00
8/17/12      BPG   Review docket, review omnibus objection,            0.70        $448.00
                   follow-up re: case memo (.7).
8/17/12      CWD   Reviewing docket, e-mails w/D. Lowenthal and        1.20        $522.00
                   B. Guiney re same (.8); attention to case
                   calendar (.1); follow-up re Dewey client files
                   (.1); e-mails from Committee re EMEA and
                   NC tax issues (.2).
8/20/12      BPG   Attention to e-mails from C. Dent re: files, Ad    1.30         $832.00
                   Hoc Bondholder Group 2019, follow-up re:
                   same (.3); OC same re: same (.1); TC C. Dent
                   re: memo, research re same (.6); review fee
                   application and follow-up (.3).




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8/20/12      CWD Reviewing docket and filed pleadings and              2.00        $870.00
                  Orders, e-mails w/D. Lowenthal and B. Guiney
                  re same, OC B. Guiney re same (.8); follow-up
                  re Dewey electronic files, e-mails w/Dewey
                  records personnel re same, multiple calls
                  w/same re same (.7); reviewing Agenda re 8/22
                  hearing, e-mails w/managing clerk's office re
                  same, TC D. Lowenthal re same (.3); TC B.
                  Guiney re indenture research, follow-up re
                  same, e-mail to same re same (.2).
8/20/12      DAL Review hearing Agenda (.2).                           0.20        $162.00
8/21/12      BPG     Review e-mail from B. Kahn re Court               0.10         $64.00
                     conference (.1).
8/21/12      CWD Reviewing docket and filed pleadings (.4);            0.80        $348.00
                  follow-up re Dewey files, e-mail to Dewey
                  records department re same (.3); e-mail from
                  Committee re 8/22 hearing and EMEA
                  discovery (.1).
8/22/12      BPG     Consider request for payment, follow-up re:       0.60        $384.00
                     files, OC C. Dent re: hearing (.4); review
                     docket and fee applications (.2)
8/22/12      CWD Reviewing docket (.2); monitoring omnibus             1.80        $783.00
                  hearing, TC D. Lowenthal re same (.9); e-mails
                  w/Dewey records department re client files, TC
                  D. Lowenthal re same, OC B. Guiney re same,
                  TC A. Campbell re same (.6); e-mail from
                  Committee re weekly call (.1).
8/22/12      DAL     E-mail J. Heaney (.6).                            0.60        $486.00
8/23/12      BPG     Review materials for Committee call and           3.70      $2,368.00
                     prepare for same (.4); participate on call and
                     follow-up (1.2); review materials from J.
                     Heaney, consider with C. Dent, consider with
                     D. Lowenthal (1.4); follow-up C. Dent re:
                     checklist (.1); consider other open items and
                     follow-up (.3); review POC (.3).




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8/23/12      CWD Reviewing docket (.2); reviewing Capstone             2.00         $870.00
                  presentations and agenda in preparation for
                  Committee call, participate in same (1.5); e-
                  mail from J. Heaney re Dewey files and related
                  matters, reviewing case documents re same, TC
                  B. Guiney re same (.3).
8/23/12      DAL     Committee call and related follow-up (1.4).        1.40      $1,134.00
8/24/12      BPG     Review docket, review filed and served            0.30         $192.00
                     pleadings, review and revise checklist from C.
                     Dent (.3).
8/24/12      CWD Reviewing docket and filed pleadings (.4);             3.80      $1,653.00
                  follow-up re case issues list, drafting summary
                  e-mail to D. Lowenthal and B. Guiney re same,
                  e-mails w/B. Guiney re same, OC D.
                  Lowenthal re same (.8); reviewing case
                  documents received from Dewey (2.6).
8/27/12      CWD Reviewing docket (.3); drafting summary e-            2.00         $870.00
                  mail to D. Lowenthal and B. Guiney re case
                  documents received from Dewey (1.7).
8/28/12      BPG Review C. Dent summary of case documents              0.90         $576.00
                   (.3); follow-up same re: same (.2); review
                   docket, review certain applications for
                   compensation (.4).
8/28/12      CWD E-mails re case issues and OC B. Guiney re            0.60         $261.00
                   same (.4); reviewing docket (.2).
8/28/12      DAL Work on Committee meeting schedule,                   0.20         $162.00
                  including TC and e-mails with F. Hodara (.1)
                  and TC J. Heaney (.1).
8/29/12      BPG     Review docket, review PolyCom 9019 (.3);          0.50         $320.00
                     follow-up re: open items on checklist (.2).
8/29/12      CWD Reviewing docket (.1); e-mail from Committee          0.20          $87.00
                  re LTD mediation and section 1114 scheduling
                  issues (.1).
8/30/12      BPG     Review e-mails from C. Dent re: open issues       0.80         $512.00
                     and 9/5 hearing, follow-up re: same (.2); OC D.
                     Lowenthal re: case issues (.1); review e-mails
                     re: same (.2); attention to filed and served
                     pleadings (.3).




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8/30/12      CWD Reviewing docket and filed pleadings and                  1.20        $522.00
                  Orders, e-mail to managing clerk's office re
                  same (.4); reviewing Agenda for 9/5 hearing,
                  follow-up re same re deferred compensation
                  matter, drafting summary e-mail to D.
                  Lowenthal and B. Guiney re same, e-mails
                  w/managing clerk's office re same, TC B.
                  Guiney re same (.6); TC D. Lowenthal re
                  Dewey files, reviewing e-mail to Dewey
                  counsel re same (.2).
8/30/12      DAL     TC with L. Sheikh re file retrieval; e-mail J.        1.80       $1,458.00
                     Heaney re same; e-mail L. Sheikh re same
                     (1.8).
8/31/12      CWD Reviewing docket (.1);                                   0.10          $43.50
8/31/12      DAL    Review Committee counsel's update re retiree          0.10          $81.00
                    issues (.1).

                                                     Total Services       62.50      $37,541.00


              Daniel A Lowenthal           19.30 hours at       $810.00 $15,633.00
              Brian P. Guiney              15.20 hours at       $640.00 $9,728.00
              Craig W. Dent                28.00 hours at       $435.00 $12,180.00


                                                     Total Expenses                      $0.00

                                                     Total This Invoice              $37,541.00




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              1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com


Law Debenture Trust Company of New York                                            Invoice No. 754064
400 Madison Avenue                                                                 October 4, 2012
New York, NY 10017                                                                 PEI No. XX-XXXXXXX

Re: NORTEL                                                                         L0353-000007


                                  CONFIDENTIAL ATTORNEY WORK PRODUCT

                              For Professional Services Rendered For The Period Ending
                               September 30, 2012 In Connection With The Following:


9/4/12           CWD Reviewing docket and amended Agenda for 9/5                   0.30           $130.50
                      hearing, e-mails w/managing clerk's office re
                      same (.2); reviewing agenda for 9/5 Committee
                      call (.1).
9/5/12           BPG      Review agenda and prepare for Committee call              1.90        $1,216.00
                          (.1); participate on weekly Committee call (.4);
                          follow-up C. Dent and D. Lowenthal re: open
                          issues and strategy (.9); follow-up C. Dent re:
                          same (.1); review docket (.2); attention to filed
                          and served pleadings (.1); review e-mails from
                          L. Sheikh and follow-up (.1).
9/5/12           CWD Preparing for Committee call, OC B. Guiney re                 2.30         $1,000.50
                       same, participate in same (.4); e-mails re
                       Dewey client files (.3); OC D. Lowenthal and
                       B. Guiney re case issues (1.4); reviewing
                       docket and hearing calendar (.2).
9/5/12           DAL      Attention to Canadian counsel (.2); attention to          2.50        $2,025.00
                          file retrieval (.6); Committee call and related
                          follow-up (1.7).
9/6/12           BPG      Work on memo re: 2026 Notes Indenture and                 4.60        $2,944.00
                          recoveries (4.6).
9/6/12           CWD Reviewing docket and Agenda for 10/3 hearing                   0.50          $217.50
                      (.2); follow-up re amended POC, e-mails re
                      same (.2); e-mails re Dewey files and 9/11
                       Committee meeting (.1).
9/6/12           DAL Prepare for Committee meeting (.4); TC F.                      0.70           $567.00
                       Hodara re same (.1); work on file retrieval (.2).




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9/7/12       BPG     Complete first draft of memo, follow-up C.       5.30        $3,392.00
                     Dent re: same, circulate same (5.3).
9/7/12       CWD E-mails re Dewey files, TC D. Lowenthal re           2.40        $1,044.00
                   same, follow-up re same (.3); reviewing docket
                   (.2); reviewing and revising draft memorandum
                   re Indenture and relevant case law, OC B.
                   Guiney re same, e-mails w/same re same (1.9).
9/7/12       DAL     Work on file retrieval (2.3).                    2.30        $1,863.00
9/10/12      BPG     Follow-up re: meeting (.1); work on memo         1.60        $1,024.00
                     (1.5).
9/10/12      CWD E-mails re Committee meeting, reviewing              0.80         $348.00
                   materials re same, OC B. Guiney re same (.8).
9/10/12      DAL Review draft POC (.2); analyze case issues (.2);     1.40        $1,134.00
                   prepare for Committee meeting (1.2).
9/11/12      CWD Reviewing Committee materials in preparation         5.70        $2,479.50
                  for meeting, OC D. Lowenthal re same, attend
                  and participate in Committee meeting (4.8);
                  reviewing docket (.3); follow-up re Dewey
                  files, OC D. Lowenthal re same, multiple TCs
                  w/Dewey records department re same, TC D.
                  Lowenthal re same (.6).
9/11/12      DAL Prepare for and attend Committee meeting             4.60        $3,726.00
                   (4.6).
9/12/12      BPG OC C. Dent re: Committee meeting and                 4.00        $2,560.00
                   allocation deck (.6); review materials re: same
                   and follow-up re: same (1.6); participate on
                   conference call with Committee and follow-up
                   D. Lowenthal and C. Dent re: same (1.3);
                   additional reading re: damages issues (.5).




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9/12/12      CWD Reviewing docket (.2); OC B. Guiney re                 4.00      $1,740.00
                  Committee meeting and recovery analyses,
                  follow-up re same (.8); reviewing Dewey files,
                  follow-up re same, e-mails w/practice support
                  re same, OC K. Edwards re same, TC Dewey
                  records department employee re same (.9);
                  revising monthly fee statement, note to
                  accounting department re same (.5); Committee
                  call, OC D. Lowenthal and B. Guiney re same
                  (1.5); e-mails from Committee re meeting
                  w/Debtors (.1).
9/12/12      DAL Confer with B. Guiney re mediation update              2.60      $2,106.00
                   (.1); prepare for and participate in Committee
                   call and related follow-up (2.5).
9/13/12      BPG     E-mails re: damages (.3); review billing detail    1.80      $1,152.00
                     (.1); follow-up C. Dent re: same (.1); review
                     docket (.1); TC C. Dent re: Nortel documents,
                     begin reviewing same (1.2).
9/13/12      CWD E-mails re case issues (.2); e-mails w/Dewey re        2.10        $913.50
                   client files, multiple TCs w/Dewey records
                   department re same, TC practice support group
                   re same, TC D. Lowenthal and B. Guiney re
                   same, reviewing files re same (1.3); finalizing
                   monthly billing statement, OC D. Lowenthal re
                   same (.6).
9/13/12      DAL E-mails with J. Heaney re Canadian counsel             1.10        $891.00
                   (.1); TC E. Lamek re status (.1); review
                   multiple e-mails re Committee meeting (.2);
                   work on fee statement (.5); e-mails with F.
                   Hodara re Committee meeting (.1); TC F.
                   Hodara re same (.1).
9/13/12      DAS     Follow-up re client file transfer per C. Dent      0.30         $64.50
                     (.3).
9/14/12      BPG     Review and consider Nortel files and memos,        1.80      $1,152.00
                     follow-up D. Lowenthal re: same (1.6); review
                     docket (.2).
9/14/12      CWD Reviewing docket and filed pleadings (.6);             2.20        $957.00
                  reviewing client files, TC B. Guiney re same
                  (1.6).




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9/14/12      DAL E-mails from F. Hodara and to B. Guiney and             0.20         $162.00
                   C. Dent re Committee meeting (.2).
9/15/12      CWD E-mails re Committee meeting w/Debtors (.1).            0.10          $43.50
9/17/12      BPG     Attention to e-mails re: in-person meeting (.1).    0.10          $64.00
9/17/12      CWD Reviewing docket (.2); reviewing Agenda for             1.10         $478.50
                  9/19 omnibus hearing, e-mails w/managing
                  clerk's office re same (.1); e-mail to Dewey
                  records department, TC Dewey records
                  department employee re same (.2); begin
                  drafting case update for client (.5); e-mails re
                  Committee meeting (.1).
9/18/12      BPG     Review docket (.1); review filed and served         0.80         $512.00
                     pleadings (.1); consider amended POC with C.
                     Dent and follow-up (.3); consider memoranda
                     with C. Dent and follow-up (.3).
9/18/12      CWD Drafting case update for client (2.1); reviewing        2.70        $1,174.50
                  docket and Agenda for 9/19 omnibus hearing,
                  e-mails w/D. Lowenthal re same (.3); OC D.
                  Lowenthal and B. Guiney re client files and
                  follow-up (.3).
9/18/12      DAL Review hearing Agenda and e-mail colleagues             0.20         $162.00
                   re same (.2)
9/19/12      CWD Monitoring omnibus hearing, OC D. Lowenthal             3.90 •      $1,696.50
                  re same (3.0); reviewing docket in deferred
                  compensation adversary proceeding (.3);
                  reviewing docket (.3); revising quarterly client
                  update, OC D. Lowenthal re same (.2); e-mail
                  from Committee re 9/20 call, reviewing agenda
                  and NN India report (.1).
9/19/12      DAL     Update on Court hearing (.3).                       0.30         $243.00
9/20/12      BPG     Review agenda, review NN India presentation,       1.90         $1,216.00
                     review docket, prepare for update call (.4);
                     participate on weekly call and follow-up (1.2);
                     review client update and follow-up re: same
                     (.3).




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9/20/12      CWD Reviewing docket and filed pleadings (.3);               2.90        $1,261.50
                  revising client update, e-mails w/D. Lowenthal
                  and B. Guiney re same (.5); preparing for and
                  participating in Committee call, OC D.
                  Lowenthal and B. Guiney re same (1.5); e-
                  mails w/J. Heaney re client e-mails, follow-up
                  re same (.4); drafting cover letter to J. Heaney
                  re client files, follow-up re same (.2).
9/20/12      DAL Committee call and follow-up (1.3); review and           2.50        $2,025.00
                   revise client update (1.2).
9/21/12      BPG     Review filed and served pleadings, attention to      0.60          $384.00
                     case calendar (.2); review certain case files and
                     follow-up (.4).
9/21/12      CWD E-mails re quarterly case update (.1); e-mail            0.20           $87.00
                   from Committee re retiree settlement (.1).
9/21/12      DAL     Revising client update e-mails re same (1.9).        1.90        $1,539.00
9/24/12      CWD E-mails re Committee meeting w/Debtors (.1);             0.20           $87.00
                   reviewing docket (.1).
9/24/12      DAL E-mails re Committee meeting (.1).                       0.10           $81.00
9/25/12      CWD E-mails re Committee meeting w/Debtors (.1);             0.30          $130.50
                   reviewing docket, reviewing PG&E 9019 (.2).
9/25/12      DAL Review Committee counsel update re Retiree               0.50          $405.00
                   and LTD mediation (.5).
9/26/12      BPG     Review docket, recent pleadings, attention to        2.30        $1,472.00
                     files (.2); review and revise POC, re-circulate
                     (.7); follow-up C. Dent re: same (.1); begin
                     outlining key issues re: damages issue, consider
                     opinion re: same (1.3)
9/26/12      CWD Reviewing docket (.2); reviewing Willi sheet re          0.50          $217.50
                  settlement w/Retiree Committee (.1); e-mails re
                  revised POC, reviewing same, TC B. Guiney re
                  same (.2).




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9/27/12      BPG   Prepare for and participate on weekly                2.00          $1,280.00
                   Committee call, follow-up re: same (.6);
                   analyze allocation issues and follow-up (.6);
                   review L. Beckerman e-mail and term sheet
                   (.5); attention to case calendar/omnibus dates
                   (.1); follow-up C. Dent and D. Lowenthal re:
                   POC (.2).
9/27/12      CWD   OC B. Guiney re Committee call (.1);                 0.50           $217.50
                   reviewing docket, e-mail to managing clerk re
                   hearing schedule (.2); reviewing client
                   withdrawal letter from Canadian counsel, e-
                   mails re same, follow-up re same (.2).
9/27/12      DAL   Committee call and follow-up (.6); review            1.00           $810.00
                   Fasken letter and invoice and e-mail J. Heaney
                   re same (.4).
9/28/12      BPG   Review docket (.2).                                  0.20           $128.00
9/28/12      CWD   Reviewing docket (.1).                               0.10             $43.50

                                                  Total Services       83.90         $50,567.50


             Daniel A Lowenthal          21.90   hours at     $810.00 $17,739.00
             Craig W. Dent               32.80   hours at     $435.00 $14,268.00
             Brian P. Guiney             28.90   hours at     $640.00 $18,496.00
             Deborah Smolen               0.30   hours at     $215.00     $64.50


                   Lexis Electronic Research                                 22.72
                   Messenger Service                                         17.00
                   Misc.                                                     49.30
                   Reproduction                                               0.90

                                                  Total Expenses                        $89.92

                                                  Total This Invoice                 $50,657.42




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                               Patterson Belknap Webb & Tyler
                 1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com




Law Debenture Trust Company of New York                                                  Invoice No. 756297
400 Madison Avenue                                                                       November 28, 2012
New York, NY 10017                                                                       FEI No. XX-XXXXXXX

Re: NORTEL                                                                               L0353-000007


                               CONFIDENTIAL ATTORNEY WORK PRODUCT

                           For Professional Services Rendered For The Period Ending
                             October 31, 2012 In Connection With The Following:


10/1/12      BPG       Follow-up C. Dent re: 10/3 hearing (.1); OC D.                     0.70             $448.00
                       Lowenthal re: 10/2 meeting and follow-up (.3);
                       follow-up C. Dent re: Capstone materials,
                       follow-up D. Lowenthal re: same (.3).
10/1/12      CWD E-mails w/managing clerk's office re 10/3                                0.80             $348.00
                   omnibus hearing, reviewing Agenda for 10/3
                   omnibus hearing, e-mails re same, TC B.
                   Guiney re same (.2); reviewing docket (.2); e-
                   mails re amended POC, TC B. Guiney re same
                   (.1); reviewing agenda for 10/2 Committee
                   meeting, e-mails from Committee counsel re
                   same, reviewing Capstone projections re same,
                   e-mails w/B. Guiney re same (.3).
10/1/12      DAL      Prepare for meeting with the Debtors (.2).                          0.20             $162.00
10/2/1 2     BPG      Review Capstone presentation (.6); consider                        4.90            $3,136.00
                      trading price with C. Dent, review agenda and
                      prepare for meeting with D. Lowenthal (.5);
                      review fee application (.2); review revised
                      presentation and follow-up re: same (.2); travel
                      to, attend and return from in-person Committee
                      meeting and follow-up re: same (3.4).
10/2/12      CWD E-mails re Committee meeting and Capstone                               0.40              $174.00
                   analysis, TC T. Morilla re same, TC D.
                   Lowenthal re same, reviewing revised
                   Capstone presentation (.4).




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10/2/12      DAL     Analyze no-call issues (1.0); review Capstone        6.80      $5,508.00
                     analysis (1.0); review case law (1.0); meeting at
                     Akin (3.8).
10/3/12      BPG     Consider Nortel issues, review allocation            1.60      $1,024.00
                     materials (.4); TC D. Lowenthal re: same (.7);
                     OC D. Lowenthal re: amended claim and revise
                     same (.5).
10/3/12      CWD Monitoring omnibus hearing, TC D. Lowenthal             2.10         $913.50
                  re same (1.2); reviewing docket (.3); reviewing
                  monthly billing statement, revising same, note
                  to accounting department re same (.5); e-mails
                  re additional client files (.1).
10/3/12      DAL Confer with B. Guiney re Committee meeting              3.70       $2,997.00
                   with Debtors (.7); TC J. Heaney re same (.1);
                   TC C. Dent re Court hearing (.1); work on
                   proof of claim (2.1); review Cleary fee
                   application (.5); TC M. Riela re case issues
                   (.2).
10/4/12      BPG     OC D. Lowenthal and C. Dent re: POC, other          4.00       $2,560.00
                     matters (.9); revise POC, consider same with C.
                     Dent (.5); follow-up re: support agreement,
                     consider issues related to same (.9); follow-up
                     and research (1.1); additional OC D. Lowenthal
                     and C. Dent re: POC, revise same, consider
                     Canadian claim (.6).
10/4/1 2     CWD Meetings w/D. Lowenthal and B. Guiney re                2.20         $957.00
                  amended POC, follow-up re same, reviewing
                  amended POC re same (2.2).
10/4/12      DAL     Work on proof of claim (3.3).                       3.30       $2,673.00
10/5/12      CWD Reviewing docket (.3); TC Cityside re client            3.30       $1,435.50
                  files (.1); drafting amended Canadian POC, e-
                  mails re same, OC D. Lowenthal re same,
                  revising amended U.S. POC re same (2.9).
10/5/12      DAL     E-mails with F. Hodara (.1); work on proof of       1.20         $972.00
                     claim issues with C. Dent (.9); work on fee
                     statement (.2).
10/6/12      BPG     Review revised U.S. claim, review Canadian          0.60        $384.00
                     claim, follow-up re: same (.6).




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10/7/12       CWD   E-mails re amended Canadian POC, revising            0.40        $174.00
                    same (.4).
10/7/12       DAL   Work on proofs of claim (.2).                        0.20        $162.00
10/8/12       BPG   Review D. Lowenthal e-mail to files, and             0.20        $128.00
                    follow-up (.2).
10/8/12       CWD   OC D. Lowenthal re amended POCs, revising            0.50        $217.50
                    same (.2); follow-up re monthly fee statement,
                    TC D. Lowenthal re same (.1); e-mails from D.
                    Lowenthal re case issues (.1); reviewing docket
                    (.1 ).
10/8/12       DAL   TC F. Hodara re case issues (.4); memo to files      2.50      $2,025.00
                    (1.2); work on proofs of claim and e-mail to J.
                    Heaney (.9).
10/9/12       BPG   Consider open issues with C. Dent (.1); OC D.        0.90        $576.00
                    Lowenthal and C. Dent re: strategy and follow-
                    up (.7); review docket (.1).
10/9/12      CWD    E-mails re monthly fee statement (.2); meeting       1.60        $696.00
                    w/D. Lowenthal and B. Guiney re mediation
                    issues, follow-up re same (1.0); reviewing
                    docket (.2); follow-up w/Cityside re Dewey
                    files (.2).
10/9/12      DAL    Confer with B. Guiney and C. Dent re strategy       2.20       $1,782.00
                    (1.2); leave detailed message for J. Heaney (.1);
                    TC J. Heaney re case issues (.1); send draft
                    proofs of claim to counsel in Delaware and
                    Canada (.7); TC E. Lamek re proof of claim
                    (.1).
10/10/12     CWD    Reviewing docket (.3); follow-up re 10/16            1.50        $652.50
                    Committee meeting, OC D. Lowenthal re same,
                    e-mail to same and B. Guiney re same (.7); e-
                    mails re amended POCs (.1); follow-up re
                    client files w/Cityside (.1); e-mail from
                    Committee re mediation submission, reviewing
                    draft presentation re same (.3).
10/10/12     DAL    Send invoice to LawDeb (.1).                        0.10          $81.00
10/11/12     BPG    Review materials for 10/12 Committee call and       0.80         $512.00
                    follow-up (.8).




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10/11/12     CWD   Reviewing docket, e-mail to D. Lowenthal and       0.90          $391.50
                   B. Guiney re same (.3); TC Cityside re Dewey
                   client files (.2); e-mail from Committee re
                   10/12 Committee call and related materials,
                   reviewing same (.4).
10/12/12     BPG   Prepare for and participate on Committee call,     2.50        $1,600.00
                   follow-up re: same (1.5); begin reviewing
                   materials re: PPI for 10/16 meeting (1.0).
10/12/12     CWD   E-mails re Committee call, preparing for same,    2.40         $1,044.00
                   participating in same, OC B. Guiney re same
                   (2.1); reviewing docket, reviewing Debtors'
                   valuation report (.3).
10/12/12     DAL   Review Committee draft mediation proposal         2.00         $1,620.00
                   (1.0); Committee call (1.0).
10/14/12     DAL   Follow-up on Committee call (.2).                 0.20          $162.00
10/15/12     BPG   Continue reviewing PPI materials (1.1); follow-   1.80         $1,152.00
                   up D. Lowenthal re: same (.2); review materials
                   for Tuesday meeting from B. Kahn and follow-
                   up re: same (.5).
10/15/12     CWD   Reviewing materials in preparation for 10/16      2.20          $957.00
                   Committee meeting, TC D. Lowenthal re same,
                   OC same re same, e-mail from Committee re
                   same (1.4); reviewing docket (.2); follow-up re
                   10/18 omnibus hearing (.1); reviewing outline
                   re deferred compensation plaintiffs' settlement
                   (.5).
10/15/12     DAL   Prepare for Committee meeting with Debtors        3.10         $2,511.00
                   (1.5); review PPI materials (1.6).
10/16/12     BPG   Prepare for and attend meeting with Debtors       5.70         $3,648.00
                   and Committee, follow-up re: same (5.7).
10/16/12     CWD   E-mails re Nortel case calendar, follow-up re     4.10         $1,783.50
                   same, reviewing docket (.5); Committee call
                   (for part) (3.4); OC B. Guiney re same (0.2).
10/16/12     DAL   Prepare for and attend Committee meeting with     6.70         $5,427.00
                   Debtors (6.6); e-mail J. Heaney (.1).




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10/17/12     BPG     Consider open issues, follow-up re: meeting          1.40        $896.00
                     with D. Lowenthal and review docket, 9019
                     motion (.6); review revised proposed
                     submission and participate on Committee call
                     (.6); follow-up re: POC (.2).
10/17/12     CWD Reviewing docket, e-mails w/managing clerk's             2.50      $1,087.50
                  office re same, attention to case calendar re
                  same (.6); e-mail from Committee re revised
                  mediation presentation, reviewing same,
                  participate in Committee call re same, e-mails
                  re same w/D. Lowenthal, OC D. Lowenthal re
                  same (1.7); OC D. Lowenthal re amended
                  POCs, TC B. Guiney re same (.2).
10/17/12     DAL     Confer with B. Guiney re Committee issues           3.10       $2,511.00
                     (.5); TC J. Heaney re same (.3); e-mail J.
                     Heaney (.2); review updated Committee
                     presentation (1.0); leave detailed message for J.
                     Bromley (.1); Committee call and related
                     follow-up (1.0).
10/18/12     BPG     Review e-mails re: submission to mediator, OC       1.40         $896.00
                     D. Lowenthal and C. Dent re: next steps,
                     review revised submission and follow-up (1.4)
10/18/12     CWD Reviewing docket (.4); follow-up w/Cityside re          1.70         $739.50
                  Dewey files (.2); meeting w/D. Lowenthal and
                  B. Guiney (.6); e-mails from Committee re
                  mediation submission, reviewing revised
                  presentation re same (.5).
10/18/12     DAL     Review court papers (.7); TC J. Bromley re          3.20       $2,592.00
                     case issues (.6); confer with B. Guiney and C.
                     Dent re case issues (.8); e-mail S. Miller re
                     POC (.1); review mediation presentation (1.0).
10/19/12     BPG    Consider revised mediation submission and            1.90       $1,216.00
                    follow-up (.2); attention to files (.1); follow-up
                    re: POC (.1); research re: certain guarantee
                    issues and follow-up D. Lowenthal re: same
                    (1.3); follow-up C. Dent re: certain case files
                    (.2).




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10/19/12     CWD Reviewing docket (.3); reviewing client files, e-      1.90        $826.50
                  mails w/D. Lowenthal and B. Guiney re same
                  (1.2); e-mails re Committee mediation
                  submission (.2); e-mails re post-petition interest
                  issues, follow-up re same (.2).
10/19/12     DAL     TC J. Heaney re mediation (.3); e-mail from        2.90      $2,349.00
                     Committee counsel re submission. (.2); e-mail
                     to J. Heaney re same (.2); review mediation
                     statement (1.0); attention to Dewey documents
                     and invoice (.3); analyze no-call issue (.9).
10/22/12     BPG     Consider POC with C. Dent (.1); review docket      0.20        $128.00
                     (.1).
10/22/12     CWD Reviewing docket (.1); reviewing case                  0.50        $217.50
                  calendar, follow-up re same (.4).
10/23/12     BPG     Review certain objections, review docket (.4);    0.90         $576.00
                     follow-up re: POC (.1); continue research and
                     reading re: cross-border guarantee issues (.4).
10/23/12     CWD Reviewing docket (.3); reviewing client files         0.60         $261.00
                  (.3).
10/23/12     DAL     E-mails with S. Miller re POC (.1); e-mails       1.50       $1,215.00
                     with B. Guiney and C. Dent re same (.2);
                     analyze PPI cases (1.2).
10/24/12     BPG     Consider POC and support agreement with C.        1.70       $1,088.00
                     Dent (.2); follow-up re: same (.2); review
                     docket (.1); TC D. Lowenthal and C. Dent re:
                     POC and follow-up (1.2).
10/24/12     CWD Reviewing docket (.3); multiple TCs w/D.              3.20       $1,392.00
                  Lowenthal re amended POCs, OC B. Guiney re
                  same, follow-up research re same (2.8);
                  reviewing agenda for 10/25 Committee call
                  (.1).
10/24/12     DAL     POC review with S. Miller and follow-up (1.7);    4.30       $3,483.00
                     analyze same with B. Guiney and C. Dent (.8);
                     further claim analysis (1.2); TC C. Dent re
                     same (.4); e-mails with E. Lamek re same (.2).




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10/25/12     BPG   Review agenda and prepare for and participate         2.70      $1,728.00
                   on weekly Committee call, follow-up re: same
                   (.9); follow-up C. Dent re: same (.1); research
                   re: claim amendment, prepare summary re:
                   same (1.7).
10/25/12     CWD   Reviewing docket (.4); OC B. Guiney re                1.30        $565.50
                   Committee call (.2); e-mails re amending POCs
                   and related issues, follow-up research re same
                   (.7).
10/25/12     DAL   E-mail to Committee counsel (.1); Committee           1.00        $810.00
                   call (.9).
10/26/12     CWD   Reviewing docket, e-mails w/D. Lowenthal and          1.50        $652.50
                   B. Guiney re same (.3); reviewing LTD
                   Committee objection to Debtors' motion to
                   terminate LTD Plans (1.2).
10/29/12     BPG   Review docket (.1); attention to LTD objection        1.40        $896.00
                   (1.3).
10/30/12     CWD   E-mails w/D. Lowenthal re NNUK pension                0.30        $130.50
                   parties' amended claims, follow-up re same
                   (.1); reviewing docket (.2).
10/30/12     DAL   Review stay decision re UK pension parties            3.30      $2,673.00
                   (1.0); review Court decision re claims (1.1);
                   review Debtors' mediation statement (1.2).
10/31/12     BPG   Follow-up re: amended NNUK claims,                    0.80        $512.00
                   reviewing same (.8).
10/31/12     CWD   E-mails w/D. Lowenthal re UK pension parties'         1.80        $783.00
                   claims, follow-up re same, reviewing same
                   (1.5); reviewing docket and filed Orders (.2); e-
                   mail from Committee re Committee call (.1).
10/31/12     DAL   Review POC issues (.4); attention to UK               3.40      $2,754.00
                   pension claims (3.0).

                                                  Total Services       128.70     $83,972.50




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              Daniel A Lowenthal        54.90 hours at    $810.00 $44,469.00
              Craig W. Dent             37.70 hours at    $435.00 $16,399.50
              Brian P. Guiney           36.10 hours at    $640.00 $23,104.00


                    Lexis Electronic Research                          180.60
                    Reproduction                                         1.80

                                                Total Expenses                    $182.40

                                                Total This Invoice              $84,154.90




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                              Patterson Belknap Webb & Tyler
                1133 Avenue of the Americas New York, NY 10036-6710 212336.2000 fax 212.336.2222 www.pbwt.com




Law Debenture Trust Company of New York                                                Invoice No. 758751
400 Madison Avenue                                                                     December 11, 2012
New York, NY 10017                                                                     FEI No. XX-XXXXXXX

Re: NORTEL                                                                             L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                           November 30, 2012 In Connection With The Following:


11/1/12      BPG     Review e-mail from B. Kahn re: status, follow-                     1.40             $896.00
                     up re: same (.1); review reservation of rights
                     and follow-up re: same (.2); TC C. Dent re:
                     POC issues and research and follow-up re:
                     same (.2); additional reading and follow-up re:
                     same (.6); TC C. Dent re: same and follow-up
                     (3)-
11/1/12      CWD Reviewing docket (.3); OC D. Lowenthal re                              6.10           $2,653.50
                  POCs and related issues, reviewing same,
                  follow-up research re same, TC B. Guiney re
                  same, drafting summary e-mail memorandum
                  re same (5.7); e-mail from Committee re
                  joinder to Debtors' motion to terminate LTD
                  plans, reviewing same (.1).
11/1/12      DAL     Review Committee counsel's update (.2);                            3.30           $2,673.00
                     review NNUK pension parties' amended claim
                     (2.9); review Committee's draft reservation of
                     rights re LTD matter (.2).
11/2/1 2     BPG     OC C. Dent re: motion, POC (.2); follow-up re:                     0.30             $192.00
                     same (.1).
11/2/12      CWD Reviewing docket (.2); OC D. Lowenthal re                              1.50             $652.50
                  case law re amended POCs, follow-up re same
                  (1.3).
11/2/12      DAL     Review cases and analyze POC issues (4.9).                         4.90           $3,969.00
11/5/12      BPG     Review docket, follow-up re: hearing, review                       0.20             $128.00
                     filed and served pleadings (.2).




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11/5/12       CWD Reviewing docket, reviewing Agenda for 11/7             0.30        $130.50
                   hearing, follow-up re same, e-mails re same
                   (.3).
11/5/12       DAL     Review hearing Agenda (.1); review pleading        2.20       $1,782.00
                      re LTD issues (1.0); review Committee's
                      reservation of rights re LTD motion (.1);
                      review amended scheduling order re Retiree
                      motion (.2); amended scheduling order re LTD
                      motion (.1); review multiple fee applications
                      (.2); review Monitor's Report (.2); docket check
                      (.3).
11/6/12       BPG     TC D. Lowenthal re: POC (.1); continue to          0.80         $512.00
                      review cases circulated by C. Dent, follow-up
                      same re: same and POC (.7).
11/6/12       CWD Reviewing docket (.1); e-mails re legal                0.40         $174.00
                   research, follow-up re same (.3).
11/6/12       DAL     Review case law re POCS (2.7).                     2.70       $2,187.00
11/7/12       BPG     OC C. Dent re: amended claim, follow-up re:        2.90       $1,856.00
                      same (1.6); OC D. Lowenthal and C. Dent re:
                      same and follow-up re: same (1.3).
11/7/12       CWD Reviewing docket (.2); monitoring 11/7                 5.70       $2,479.50
                   omnibus hearing (1.1); OC B. Guiney re
                   research, OC D. Lowenthal and B. Guiney re
                   same, follow-up research re same, drafting
                   summary e-mail re same, TC same re same
                   (4.1); reviewing e-mail from Committee re 11/8
                   call, reviewing enclosed materials re same (.3).
11/7/12       DAL     Review cases (1.0); TC S. Miller re POC (1.3);     4.10       $3,321.00
                      conf. B. Guiney and C. Dent re same (1.0);
                      review Indenture and related documents (.8).
11/8/12       BPG     Review materials for call (.4); participate on     2.20       $1,408.00
                      weekly Committee call and follow-up (.9);
                      review cases re: amending claims (.9).
11/8/12       CWD Preparing for and participating in Committee           1.40         $609.00
                    call (.8); reviewing docket (.2); TC D.
                    Lowenthal re research and client files, follow-
                    up re same, e-mails w/same re same (.4).




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11/8/12      DAL     Prepare for and participate in Committee call        5.60      $4,536.00
                     (1.3); TC K. Adelsberg (.1); leave message for
                     E. Lamek (.1): work on client memo (3.6); TC
                     S. Miller re legal research (.2); TC J. Heaney re
                     case issues (.3).
11/9/12      BPG     Review e-mails re: mediation and follow-up re:       0.40        $256.00
                     same (.1); review additional e-mails re: same
                     and follow-up re: same (.2); review docket (.1).
11/9/12      CWD Reviewing docket and hearing calendar,                   0.80        $348.00
                  follow-up re same (.4); e-mails from
                  Committee re mediation sessions (.2); TC D.
                  Lowenthal re claim amendment issues, e-mails
                  re same (.2).
11/9/12      DAL     Work on client memo (3.3); update B. Guiney         5.80       $4,698.00
                     and C. Dent (.1) TCs S. Miller re POC issues
                     (1.6); e-mails with Committee counsel re
                     mediation scheduling (.4); review E. Lamek e-
                     mail (.2); TC E. Lamek and follow-up (.2).
11/11/12     DAL     Revise POC addendum (2.4).                          2.40       $1,944.00
11/12/12     BPG     Review docket, attention to case calendar (.2);     1.90       $1,216.00
                     OC C. Dent re: corporate docs (.2); begin
                     reviewing revised claim and follow-up (.6);
                     follow-up C. Dent re: same (.2); OC D.
                     Lowenthal re: same (.2); additional follow-up
                     re: same, consider revised claim (.5).
11/12/12     CWD E-mails re proofs of claim, reviewing same,             3.50       $1,522.50
                   multiple TCs w/D. Lowenthal re same, OC B.
                   Guiney re same, revising same, follow-up re
                   same (3.2); reviewing docket (.3).
11/12/12     DAL    Revise POC addendum (2.9); conf. B. Guiney           6.90       $5,589.00
                    re same (.3); conf. C. Dent re same (.3); revise
                    memo to client (2.9); review case law (.3); e-
                    mails with S. Miller (.2).
11/13/12     BPG    Review revised claim, OC D. Lowenthal and C.         1.60       $1,024.00
                    Dent re: same, follow-up re: same (1.1);
                    additional OC same re: same (.5).




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11/13/12     CWD E-mails re POCs, OC D. Lowenthal re same,               3.20      $1,392.00
                   multiple meetings w/D. Lowenthal and B.
                   Guiney re same, revising same (2.8); reviewing
                   docket (.2); reviewing memorandum to client
                   (.2).
11/13/12     DAL     Work on POC and client memo, including e-          3.60       $2,916.00
                     mails with S. Miller and confs. with B. Guiney
                     and C. Dent (3.6).
11/14/12     BPG     Review and revise client memo (1.1); follow-       2.10       $1,344.00
                     up re: same and re: POC (.2); TC C. Hamilton
                     re: POC, follow-up D. Lowenthal and C. Dent
                     re: same (.8)
11/14/12     CWD Reviewing docket (.2); e-mails re revised              0.50         $217.50
                  POCs, TC D. Lowenthal re same (.2); e-mail
                  from Committee 11/15 call, reviewing agenda
                  re same (.1).
11/14/12     DAL     Work on fee statement (.1); revise and send        1.70       $1,377.00
                     memo to S. Miller (.3); TC. Miller re same (.8);
                     TC B. Guiney re same (.5)
11/15/12     BPG     Work on update to memo per D. Lowenthal and        5.10       $3,264.00
                     conversation with C. Hamilton (.8); review and
                     revise memo, follow-up C. Dent re: same (.7);
                     participate on weekly Committee call and
                     update D. Lowenthal re: same (.7); additional
                     revisions to memo, meet with C. Dent re: same
                     (for part), follow-up S. Miller re: same (1.1);
                     continue working on memo, additional follow-
                     up with C. Dent re: same (1.8).
11/15/12     CWD Multiple OCs w/B. Guiney re client                     4.10       $1,783.50
                  memorandum, e-mails re same, reviewing and
                  revising same, call w/S. Miller re same,
                  revising successive drafts of amended POC and
                  memorandum drafts re same, drafting amended
                  Canadian POC (3.6); Committee call (.5).
11/15/12     DAL    Work on POC, including e-mails with B.              1.00         $810.00
                    Guiney and C. Dent and review updated memo
                    (1.0).
11/16/12     BPG    TC D. Lowenthal and C. Dent re: memo (.8);          1.20         $768.00
                    revise same, review and circulate (.4).




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11/16/12     CWD Reviewing docket (.1); call w/D. Lowenthal re          1.20        $522.00
                  amended POCs, OC B. Guiney re same, e-
                  mails re same, reviewing revised memorandum
                  re same (1.1).
11/16/12     DAL Work on memo and POC issues with B. Guiney             1.50      $1,215.00
                  and C. Dent (1.5).
11/19/12     BPG     Follow-up re: memo and review same (.8).          0.80         $512.00
11/19/12     CWD Reviewing docket (.3); meeting w/D.                   3.00       $1,305.00
                  Lowenthal re amended POCs and related
                  memorandum, revising same, e-mails w/S.
                  Miller re same, call w/same re same (2.7).
11/19/12     DAL     E-mails with B. Guiney and C. Dent (.2); revise   3.30       $2,673.00
                     memo (2.5); e-mail J. Heaney memo and claim
                     (.2) TCs with J. Heaney (.2); work on POC (.2).
11/20/12     BPG     TC D. Lowenthal, J. Heaney and C. Dent re:        1.10         $704.00
                     memo (.8); follow-up re: same (.3).
11/20/12     CWD Call w/client re amended POCs, OC D.                  1.20         $522.00
                  Lowenthal and B. Guiney re same (.9);
                  reviewing docket (.2); follow-up re case
                  calendar (.1).
11/20/12     DAL     TC J. Heaney, B. Guiney and C. Dent re claim      1.60       $1,296.00
                     issues (.9); TC S. Miller re same (.5); review
                     chart analyzing claims (.2).
11/21/12     BPG     TC D. Lowenthal re: Nortel POC (.5); draft        3.70       $2,368.00
                     motion to amend (3.2).
11/21/12     CWD Monitoring 11/21 omnibus hearing, follow-up           1.50         $652.50
                  re same, TC D. Lowenthal re same, e-mails
                  w/same re same (1.0); reviewing docket (.3);
                  reviewing draft motion re amended POC (.2).
11/21/12     DAL     TC B. Guiney re procedural issues (.5); review    1.00         $810.00
                     hearing Agenda (.1); TC C. Dent re same (.1);
                     review Order re LTD motion (.3).
11/25/12     DAL     Work on fee statement (.6); review and revise     2.10       $1,701.00
                     draft motion (1.5).




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11/26/12     BPG     Review revised motion, further revisions to         1.50        $960.00
                     same, OC C. Dent re: same (.5); follow-up re:
                     same (.2); review docket (.3); additional
                     revisions to motion and follow-up re: same (.5).
11/26/12     CWD Reviewing docket (.2); reviewing and revising          3.00       $1,305.00
                  monthly billing detail, note to accounting
                  department re same (.5); reviewing revised
                  motion, revising same, e-mails re same w/D.
                  Lowenthal and B. Guiney, TC D. Lowenthal
                  and B. Guiney re same (2.3)
11/26/12     DAL    Work on fee invoice (.2); work on draft motion      4.80       $3,888.00
                    (3.6); e-mails and TCs with B. Guiney and C.
                    Dent (.7); e-mail with S. Miller re same (.2); e-
                    mail J. Heaney (.1).
11/27/12     BPG    Multiple TCs and e-mails re: motion, review         2.00       $1,280.00
                    and revise same (1.8); follow-up C. Dent re:
                    same (.2).
11/27/12     CWD Reviewing docket (.2); revising POCs, e-mails          0.90         $391.50
                  re same w/D. Lowenthal, B. Guiney, and S.
                  Miller, TC B. Guiney re same (.2); reviewing
                  revised motion re amended POCs, revising
                  same, e-mails re same, OC B. Guiney re same
                  (.5)-
11/27/12     DAL    Revise motion, including review of same with        2.40       $1,944.00
                    colleagues and Morris James (2.1); e-mail to J.
                    Heaney (.2); leave message for J. Bromley (.1).
11/28/12     BPG    OC D. Lowenthal re: motion, strategy (.6);          0.80         $512.00
                    additional follow-up re: same (.2).
11/28/12     CWD Revising monthly fee statement, OC B. Guiney           1.20         $522.00
                   re same, e-mails w/accounting department re
                  same, OC D. Lowenthal re same (.5); OC B.
                  Guiney re draft POC motion, reviewing same
                  (.5); reviewing docket (.2).
11/28/12     DAL    Work on POC issues with B. Guiney (.7); TC J.       1.50       $1,215.00
                    Heaney and follow-up (.6); e-mails with
                    Delaware counsel re hearing dates (.2).
11/29/12     BPG    Prepare for and participate on weekly               1.10         $704.00
                    Committee call and follow-up re: same (1.1).




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11/29/12     CWD Reviewing docket (.2); reviewing materials in             1.70         $739.50
                  advance of Committee call, participating in
                  same (1.1); TC D. Lowenthal and B. Guiney re
                  case issues, follow-up re same (.4).
11/29/12     DAL    Prepare for and participate in Committee call          2.30       $1,863.00
                    and follow-up (.1.5); review cases (.8).


                                                    Total Services       137.00      $90,233.00


              Daniel A Lowenthal         64.70   hours at     $810.00 $52,407.00
              Craig W. Dent              41.20   hours at     $435.00 $17,922.00
              Brian P. Guiney            31.10   hours at     $640.00 $19,904.00


                    Filing Fees/Index Fees                                  525.00
                    Lexis Electronic Research                               279.94
                    Local Travel & Fares                                     44.00
                    Outside Professional Services                           222.65

                                                    Total Expenses                    $1,071.59


                                                    Total This Invoice               $91,304.59




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                    Patterson Belknap Webb & Tyler                                        LLP


          1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com

Law Debenture Trust Company of New York                                        Invoice No. 761842
400 Madison Avenue                                                             January 28, 2013
New York, NY 10017                                                             FEI No. XX-XXXXXXX

Re: NORTEL                                                                     L0353-000007


                              CONFIDENTIAL ATTORNEY WORK PRODUCT

                          For Professional Services Rendered For The Period Ending
                           December 31, 2012 In Connection With The Following:


12/3/12      BPG       Review docket (.1); follow-up re: in-person              0.30            $192.00
                       Committee meeting (.1); follow-up re: open
                       issues (.1).
12/3/12      CWD      Reviewing docket, reviewing Agenda for 12/5               0.20             $87.00
                      hearing, follow-up re same (.1); OC D. Attanasi
                      re POC motion (.1).
12/3/12      DAL      E-mails re Committee meeting (.2); revise                 1.60        $1,296.00
                      motion and claim (1.0); review and send
                      invoice (.3); leave detailed message for J.
                      Bromley (.1).
12/4/12      BPG      TC D. Lowenthal re: motion and POC (.2);                  0.70            $448.00
                      review docket, review e-mails related to case
                      (.2); review revised motion and POC (.3).
12/4/12     CWD       Reviewing docket, follow-up re same                       0.50            $217.50
                      w/managing clerk's office, e-mails re same (.4);
                      e-mail from Committee re LTD settlement (.1).
12/4/12     DAL       Work on motion (.5); e-mails with E. Lamek                1.10            $891.00
                      (.2); leave detailed message for L. Schweitzer
                      and follow-up (.2); e-mails with J. Heaney S.
                      Miller and C. Hamilton (.1); leave message for
                      E. Lamek (.1).
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12/5/12   BPG Review e-mail from L. Beckerman, review                  4.00        $2,560.00
                documents related to same, follow-up re: same
                (1.4); attention to calendar/omnibus hearing
                dates (.2); follow-up re: e-mail to Debtors,
                consider same and consider strategy with C.
                Dent (for part) and D. Lowenthal (for part) (.8);
                follow-up D. Lowenthal re: same (.4); review
                POC and motion and follow-up re: same (.3);
                OC D. Lowenthal and C. Dent re: next steps
                (.5); consider reply and follow-up C. Dent re:
                same (.4).
12/5/12   CWD Monitoring 12/5 omnibus hearing, e-mails                 2.30        $1,000.50
               w/colleagues re same (.3); reviewing docket,
               follow-up re hearing dates w/managing clerk's
               office (.3); e-mails re motion, follow-up re
               same, meeting w/D. Lowenthal and B. Guiney
               re same (1.7).
12/5/12   DAL     Draft e-mail to Debtors' counsel (.9); review        4.00        $3,240.00
                  same with colleagues (.7); TC S. Miller (.1);
                  review Committee update on LTD mediation
                  (.5); work on claim issues (1.8).
12/6/12   BPG     OC D. Lowenthal and C. Dent re: claim (.3);         2.70         $1,728.00
                  prepare for and participate on weekly
                  Committee call, follow-up re: same (.7);
                  additional consideration of reply brief, follow-
                  up re: same (.6); OC D. Lowenthal and C. Dent
                  re: claim, strategy re: same (.4); TC B. Kahn re:
                  same, follow-up D. Lowenthal re: same (.5);
                  follow-up C. Dent re: same (.2).
12/6/12   CWD Reviewing docket (.1); follow-up re claim, TC           1.80          $783.00
               D. Lowenthal re same, multiple OCs w/same
               and B. Guiney re same (1.1); Committee call
               (.6).
12/6/12   DAL     Finalize motion (.7); Committee call (.6); e-       3.10         $2,511.00
                  mail Debtors' counsel (.3); TC Debtors' counsel
                  re case issues (.4); conf. B. Guiney and C. Dent
                  re case issues (.4); TC B. Guiney re call with
                  Akin (.3); TC E. Lamek re case issues (.4).
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12/7/12    BPG Consider motion to amend with D. Lowenthal             0.40         $256.00
                 (.1); review e-mail from J. Sturm (.1); attention
                 to filed and served pleadings (.2).
12/7/12    CWD Revising monthly billing detail, note to               1.00         $435.00
                accounting department re same (.5); reviewing
                docket (.2); OC D. Lowenthal re claim issues
                (.1); e-mails from Committee re conflict issue
                and deferred comp. settlement (.2).
12/7/12    DAL Work on fee statement (.1); review Committee           0.50         $405.00
                update re DaVinci, e-mails w/J. Heaney and
                Committee re same (.4).
12/10/12   BPG     Consider motion re: POC, follow-up re: same        2.10        $1,344.00
                   (.3); consider Thursday Committee meeting,
                   follow-up re: same, prepare for same (including
                   TC with D. Lowenthal, for part) (.9); TC C.
                   Dent and D. Lowenthal re: same, review e-mail
                   from C. Hamilton re: same (.3); consider the
                   Support Agreement (with C. Dent, for part)
                   (.6).
12/10/12   CWD E-mails re monthly billing statement, reviewing        1.60         $696.00
                 same, revising same (.8); reviewing docket (.3);
                 e-mails re claim filing issues, OC D. Lowenthal
                 re same, OC B. Guiney re same (.5).
12/10/12   DAL Conf. C. Dent re motion (.1); work on motion           2.20        $1,782.00
                 issues with B. Guiney and C. Dent and
                 Delaware counsel (1.6); prepare for Committee
                 meeting (.5).
12/11/12   BPG     Review docket, review 9019 motion (.4);            2.10        $1,344.00
                   review mediation proposals and supporting
                   materials, follow-up re: same (.7); TC D.
                   Lowenthal re: open issues (.2); additional
                   follow-up re: same (.2); TC B. Kahn re:
                   Thursday Committee meeting, follow-up D.
                   Lowenthal re: same (.6).
12/11/12   CWD E-mails re monthly fee statement, revising             0.50         $217.50
                 same (.3); reviewing docket (.2).
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                                                                     January 28, 2013
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12/11/12   DAL     Work on billing (.4); confer with B. Guiney re     2.10        $1,701.00
                   Committee meeting (.3); send fee statement to
                   LawDeb (.2); TC J. Borow, TC B. Guiney,
                   attempt TCs with J. Bromley and L. Schweitzer
                   (1.2).
12/12/12   BPG     Review e-mail and attachments re: cease trade      3.00        $1,920.00
                   order, follow-up re: same (.9); additional
                   follow-up re: same, including TC C. Dent (.3);
                   follow-up D. Lowenthal re: Committee
                   meeting, consider strategy re: motion to amend,
                   additional follow-up re: same (.4); review
                   Capstone presentation and follow-up (1.4).
12/12/12   CWD E-mail from Committee's Canadian counsel re            0.90         $391.50
                 NNL delisting, e-mails re same, reviewing
                 documents re same, TC B. Guiney re same (.5);
                 reviewing docket (.2); reviewing materials
                 circulated by Committee in advance of 12/13
                 meeting (.2).
12/12/12   DAL     E-mails with LawDeb re status report (.1);        2.50         $2,025.00
                   review memo from Committee counsel re
                   Canadian cease trade order (2.0); TC J. Borow
                   (.2): prepare for Committee meeting with B.
                   Guiney (for part) (.3).
12/13/12   BPG     Finish reviewing materials for meeting,           6.80        $4,352.00
                   research re: OID and follow-up, prepare for
                   Committee meeting and follow-up D.
                   Lowenthal re: same (2.3); travel to, attend and
                   return from Committee meeting at Akin (3.6);
                   follow-up re: same, including OC with D.
                   Lowenthal and C. Dent, for part (.9).
12/13/12   CWD E-mails re Committee meeting and related              3.20        $1,392.00
                 matters, Committee call (for part) (2.2);
                 reviewing docket (.2); meeting w/D. Lowenthal
                 and B. Guiney re case issues (.8).
12/13/12   DAL    E-mail J. Heaney (.2); review Committee            6.30        $5,103.00
                  presentations (.3); Committee meeting (4.8);
                  review meeting and mediation issues with B.
                  Guiney and C. Dent (.8); leave detailed
                  messages for J. Bromley and L. Schweitzer and
                  e-mail both re same (.2).
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12/14/12    BPG   Follow-up D. Lowenthal re: motion (.2);             0.30         $192.00
                  review docket (.1).
12/14/12    CWD   E-mails re motion (.1); reviewing docket and        0.70         $304.50
                  Agenda for 12/18 omnibus hearing, follow-up
                  re same (.6).
12/14/12    DAL   Confer with B. Guiney re POC motion (.3).           0.30         $243.00
12/17/12    BPG   Review docket, review 9019 on deferred comp.        1.70        $1,088.00
                  settlement (1.0); follow-up D. Lowenthal re:
                  motion to amend (.1); TC D. Lowenthal and C.
                  Dent re: motion and next steps (.6).
12/17/12    CWD   Reviewing docket, e-mails w/B. Guiney re           0.70          $304.50
                  same (.2); TC D. Lowenthal and B. Guiney re
                  claims (.5).
12/1 7/12   DAL   TC J. Bromley re draft motion (.4), team call      1.00          $810.00
                  (.6).
12/18/12    BPG   Consider next steps, including OC with C.          1.70         $1,088.00
                  Dent, for part (.4); OC D. Lowenthal and C.
                  Dent re: motion (1.0); follow-up re: same (.1);
                  review update e-mail, follow-up re: same (.2).
12/18/12    CWD   Reviewing docket (.2); OC B. Guiney re claim       1.90          $826.50
                  motion (.4); OC D. Lowenthal and B. Guiney
                  re same (1.1); e-mails re same (.1); e-mail from
                  Committee re mediation (.1).
12/18/12    DAL   TC S. Miller re case issues (.4); confer with B.   2.00         $1,620.00
                  Guiney and C. Dent re same (1.2); TC S. Miller
                  re same (.4).
12/19/12    BPG   Multiple TCs and e-mails re: motion, review        4.00         $2,560.00
                  and revise same, gather exhibits related to same
                  (2.9); TC B. Kahn re: motion and follow-up re:
                  same (.3); additional follow-up re: same (.2);
                  follow-up C. Dent re: filing logistics (.1); TC
                  Akin team and follow-up re: same (.5).
12/19/12    CWD   E-mails re POC motion, TC B. Guiney re same,       1.60          $696.00
                  follow-up re same, leave message for C.
                  Hamilton re same, follow-up re same (.5); call
                  w/Committee counsel re POC motion, revising
                  same and draft amended POC, OC D.
                  Lowenthal re same (1.0); reviewing docket (.1).
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12/19/12   DAL E-mails with Committee counsel re mediation             6.40        $5,184.00
                 (.4); work on motion issues, including TC with
                 J. Bromley, TC with S. Miller, leave message
                 for J. Heaney, conf. with B. Guiney, revise
                 motion, TC J. Heaney, TC Akin re same and
                 revisions to motion and claim (5.8); prepare for
                 mediation (.2).
12/20/12   BPG      Review revised motion and claim (.5); OC D.        1.70        $1,088.00
                    Lowenthal re: same and follow-up (.3); review
                    docket, review motion re: compensation (.4);
                    follow-up re: motion to amend (.3); follow-up
                    C. Dent re: client update (.2).
12/20/12   CWD E-mails re POC motion, follow-up re same,              2.70         $1,174.50
                 revising same, revising amended POC, OC B.
                 Guiney re same, TC D. Lowenthal re same (.9);
                 drafting client update, e-mails w/D. Lowenthal
                 re same, multiple TCs w/B. Guiney re same
                 (1.8).
12/20/12   DAL Finalize claim motion (2.7).                           2.70        $2,187.00
12/21/12   BPG     Review docket, attention to files (.3); begin      2.50        $1,600.00
                   working on potential reply to objections (2.2).
12/21/12   CWD E-mails re client case update (.1); reviewing          0.20           $87.00
                 docket (.1).
12/21/12   DAL     Complete and send client update (.4).              0.40          $324.00
12/24/12   BPG     Review e-mail from D. Lowenthal re: motion,        0.20          $128.00
                   follow-up re: same (.2).
12/24/12   CWD E-mails re noteholder communications re POC            0.20           $87.00
                 motion (.2).
12/24/12   DAL TC with J. Schiffin and related follow-up (1.0):       1.00          $810.00
12/26/12   BPG     Work on reply motion (2.1); review docket (.1);    2.40        $1,536.00
                   OC C. Dent re: open issues (.1); e-mails re:
                   correspondence with holders (.1).
12/26/12   CWD OC B. Guiney re POC motion and related                 0.80          $348.00
                issues (.2); reviewing docket (.2); e-mails re
                correspondence with holders, follow-up re
                same (.4).
